Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 1 of 66 Page ID #:622



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 6
      Attorneys for Plaintiffs KARI EISENACHER and
 7    DAVID EISENACHER
 8
 9                          UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11
12    KARI EISENACHER and DAVID                  Case No.: 2:17-cv-00984-ODW-JCx
      EISENACHER,
13
                    Plaintiffs,                  DECLARATION OF ANNA LISA
14                                               KNAFO IN SUPPORT OF PLAINTIFFS’
             v.                                  MOTION FOR LEAVE TO FILE FIRST
15                                               AMENDED COMPLAINT
      BMW OF NORTH AMERICA, LLC;
16    PAG SANTA ANA B1, Inc.; and
      DOES 1 through 10, inclusive; Date:                      December 4, 2017
17                                  Judge:                     Hon. Otis D. Wright II
                 Defendants.        Time:                      1:30 p.m.
18                                  Location:                  Courtroom 5D
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         KNAFO DECLARATION IN SUPPORT OF PLAINTIFFS’ M OTION FOR LEAVE TO FILE AMENDED COMPLAINT
Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 2 of 66 Page ID #:623



  1                          DECLARATION OF ANNA KNAFO
  2          I, Anna Knafo, declare:
  3          1.     I am an attorney admitted to the Bar of the State of California and
  4   the United States District Court, Central District of California. I am counsel of
  5   record for Plaintiffs Kari Eisenacher and David Eisenacher in the above-entitled
  6   action. Unless the context indicates otherwise, I have personal knowledge of the
  7   following facts, and if called as a witness, I could and would testify competently
  8   to them.
  9          2.     I submit this declaration in support of Plaintiffs’ Motion for Leave
 10   to File First Amended Complaint
 11          3.     Since the filing of Plaintiffs’ Complaint, Plaintiffs have been
 12   diligently prosecuting this action. For example, immediately after the
 13   commencement of the action, on January 17, 2017, Plaintiffs served discovery,
 14   including special interrogatories, form interrogatories, requests for production of
 15   documents, requests for admission, and a notice of PMQ deposition. Defendant
 16   responded to the written discovery on February 21, 2017.
 17          4.     Attached as Exhibit 1 is a true and correct copy of Plaintiffs’
 18   operative complaint.
 19          5.     Attached as Exhibit 2 is a true and correct copy of Plaintiffs’
 20   proposed First Amended Complaint.
 21          6.     Attached as Exhibit 3 is a true and correct copy of a redline
 22   comparison of Plaintiffs’ operative complaint and proposed First Amended
 23   Complaint.
 24          7.     Attached as Exhibit 4 is a true and correct copy of Plaintiffs’
 25   February 8, 2017 CLRA letter to Defendant.
 26          8.     Plaintiffs’ February 8, 2017 CLRA letter prompted a settlement
 27   discussion of Plaintiffs’ CLRA claim. Defendant responded to Plaintiffs’
 28   statutory notice on or about March 10, 2017 proposing settlement of the CLRA
                                                   1

         KNAFO DECLARATION IN SUPPORT OF PLAINTIFFS’ M OTION FOR LEAVE TO FILE AMENDED COMPLAINT
Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 3 of 66 Page ID #:624



  1   claim and settlement discussions ensued. Attached as Exhibit 5 is a true and
  2   correct copy of Defendant’s March 10, 2017 response.
  3          9.     During the course of the settlement discussions, on or about August
  4   4, 2017, Defendant requested financial information from Plaintiffs, purportedly
  5   necessary for Plaintiffs’ claim for restitution. The requested information was
  6   provided to Defendant on or about August 16, 2017. However, after that
  7   information was provided, on August 21, 2017, Defendant reversed course and
  8   advised Plaintiffs’ counsel Defendant was “not interested in resolving Plaintiffs’
  9   purported claims piecemeal” and that no settlement could be reached on the
 10   CLRA claim alone. When Plaintiffs subsequently attempted to “meet and
 11   confer” regarding Plaintiffs’ request to amend the Complaint to add the CLRA
 12   claim, consistent with their obligations under Local Rule 7-3, Defense counsel
 13   advised Plaintiffs’ counsel that there was nothing to meet and confer about and
 14   that Defendant would not stipulate to allow Plaintiffs to amend the complaint to
 15   add the CLRA claim. Attached as Exhibit 6 is a true and correct copy of July 24,
 16   2012 - October 12, 2017 e-mail chain.
 17          10.    On October 18, 2017, consistent with their obligations under Local
 18   Rule 7-3, Plaintiffs met and conferred with Defendants by phone, requesting that
 19   Defendant stipulate to an amended complaint adding a claim for fraudulent
 20   omission. Defendant, however, refused to so stipulate, on the grounds that
 21   Plaintiffs’ proposed amendment was not timely.
 22          I declare under the penalty of perjury under the laws of the United States
 23   of America that the foregoing is true and correct. Executed on November 6,
 24   2017 at Los Angeles, California.
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 26
                                                _________________________________
 27                                             Anna Knafo
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         KNAFO DECLARATION IN SUPPORT OF PLAINTIFFS’ M OTION FOR LEAVE TO FILE AMENDED COMPLAINT
Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 4 of 66 Page ID #:625




            EXHIBIT 1
      Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 5 of 66 Page ID #:626




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             1
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             5
                 Facsimile: (3 10) 943-3838
             6
                 Attorneys for Plaintiffs KARI EISENACHER and DAVID EISENACHER
             7

             8
                                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
             9
                                                    FOR THE COUNTY OF LOS ANGELES
            10
U           11
                 KARI EISENACHER                ANd   DAVID           Case No
a           12
ri    'I'        EISENACHER,
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O                                      Plaintiff,
                                                                      Hon.
            t4                                                        Dept.
F1    -                       VS.

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                                                                      COMPLAINT FOR VIOLATION OF
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            r6   BMW OF NORTH AMERICA, LLC; PAG                       STATUTORY OBLIGATIONS
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      t,l        SANTA ANA 81, Inc.; and DOES I through
F           I7       10, inclusive,
H                                                                     JURY TRIAL DEMANDED
aFi         18                        Defendants

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                                                       COMPLAINT; JURY TRIAL DEMANDED
     Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 6 of 66 Page ID #:627




            I          Plaintiff alleges as follows:

            2                                              PARTIBS
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            J          1.     As used in this Complaint, the word "Plaintiff' shall refer to Plaintiffs KARI

            4   EISENACHER and DAVID EISENACHER.

            5          2.     Plaintiff is a resident of Brea, California.

            6          3.     As used in this Complaint, the word "Defendant" shall refer to all Defendants

            7   named in this Complaint.

            8          4.     Defendant BMW OF NORTH AMERICA is a corporation organized and in

            9   existence under the laws of the State of Delaware and registered with the California

           10   Department of Corporations to conduct business in California. At all times relevant herein,
U
HT         11   Defendant was engaged in the business of designing, manufacturing, constructing,
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H          I2   assembling, marketing, distributing, and selling automobiles and other motor vehicles and
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           13   motor vehicle components in Los Angeles County.

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F]   ;
           14          5.     Defendant PAG SANTA ANA           Bl, Inc., conducts   business in the State   of
ti   't    15   California under the name "Crevier BMW." At all times relevant herein, Defendant was
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           t6   engaged in the business of selling automobile components and servicing and repairing
     /
     '/,
F          T7   automobiles in Los Angeles County.
k
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a          18          6.     Plaintiff is ignorant of the true names and capacities of the Defendants sued

           T9   under the fictitious names DOES 1 to 10. They are sued pursuant to Code of Civil Procedure

           20   section 474.'WhenPlaintiff becomes aware of the true names and capacities of the

           2T   Defendants sued as DOES     I to 10, Plaintiff will amend this Complaint to state their true
           22   names and capacities.

           23                                    FIRST CAUSE OF ACTION
           24                            BY PLAINTIFF' AGAINST DEFENDANT
           25          vroLATroN oF suBDrvrsroN (D) oF                    crvrl coDE sEcTroN        1793.2

           26          7.     In2012, Plaintiff purchased a2012 BMW 550i, vehicle identification number

           27   WBAFR9C5DCDV58985, (hereafter "Vehicle") which was manufactured and or distributed

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                                                               Page   i
                                             COMPLAINT; JURY TRIAL DEMANDED
      Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 7 of 66 Page ID #:628




            1   by Defendant. The Vehicle was purchased primarily for personal, family, or household

            2   purposes. Plaintiff purchased the Vehicle from a person or entity engaged in the business of
            a
            J   manufacturing, distributing, or selling consumer goods at retail.

            4          8.       In connection with the purchase, Plaintiff received an express written warranty

            5   in which Defendant undertook to preserve or maintain the utility or performance of the

            6   Vehicle or to provide compensation if there is a failure in utility or performance for a

            7   specified period of time. The warranty provided, in relevant part, that in the event a defect

            8   developed with the Vehicle during the warranty period, Plaintiff could deliver the Vehicle for

            9   repair services to Defendant's representative and the Vehicle would be repaired,

           10          9.       During the warranty period, the Vehicle contained or developed defects,
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           11   including but not limited to defects causing: excessive oil consumption; oil leakage; shimmy
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           l2   and noises in the steering wheel; smoke and    oil coming from the exhaust; fuel injector failure;
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t-t 3'/.   13   faulty timing chain; faulty fuel feed lines; faulty vacuum pumps and crankcase vent hoses; and
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           l4   faulty battery, Said defects substantially impair the use, value, or safety of the Vehicle.
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           15          10.      Defendant and its representatives in this state have been unable to service or
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           t6   repair the Vehicle to conform to the applicable express warranties after a reasonable number
ti    ,.
F          t7   of opportunities. Despite this fact, Defendant failed to promptly replace the Vehicle or make
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V)         18   restitution to Plaintiff as recluired by Civil Code section 1793.2, subdivision (d) and Civil

           t9   Code section 1793.1, subdivision (a)(2).

           20          11.      Plaintiff has been damaged by Defendant's failure to comply with its

           2t   obligations pursuant to Civil Code section 1793.2, subdivision (d) and Civil Code section

           22   1793.1, subdivision (a)(2), and therefore brings this cause of action pursuant to   Civil   Code

           23   section 1794.

           24          12.      Defendant's failure to comply with its obligations under Civil Code section

           25   1793.2, subdivision (d) was   willful, in that Defendant   and its representative were aware that

           26   they were unable to service or repair the Vehicle to conform to the applicable express

           27   warranties after a reasonable number of repair attempts, yet Defendant failed and refused to

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                                                                Page 2

                                              COMPLAINT; JURY TRIAL DEMANDED
      Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 8 of 66 Page ID #:629




             1   promptly replace the Vehicle or make restitution. Accordingly, Plaintiff is entitled to a civil

             2   penalty of two times Plaintiff s actual damages pursuant to Civil Code section 1794,
             a
                 subdivision (c).

             4           13.     Defendant does not maintain a qualified third-party dispute resolution process

             5   which substantially complies with Civil Code section 1793.22. Accordingly, Plaintiff is

             6   entitled to a civil penalty of two times Plaintiff s actual damages pursuant to Civil Code

             7   section 1794, subdivision (e).

             8           14.     Plaintiff seeks civil penalties pursuant to section 1794, subdivisions (c), and (e)
             9   in the alternative and does not seek to cumulate civil penalties,   as   provided in Civil Code

            10   section 1794, subdivision (f).
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            11                                    SECOND CAUSE OF ACTION
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            12                             BY PLAINTIFF AGAINST DEFENDANT
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            13           vroLATroN oF suBDrvrsroN (B) oF                  crvL   coDE sEcTroN          1793.2
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            I4           14.     Plaintiff incorporates by reference the allegations contained in the paragraphs
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t4    a     15   set forth above.
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            I6          15.      Although Plaintiff presented the Vehicle to Defendant's representative in this
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      c     17   state, Defendant and its representative failed to commence the service or repairs within a
a/.

aF          18   reasonable time and failed to service or repair the Vehicle so as to conform to the applicable

            I9   warranties within 30 days, in violation of Civil Code section 1793.2, subdivision      (b). Plaintiff
            20   did not extend the time for completion of repairs beyond the 30-day requirement.

            2T          16.      Plaintiff has been damaged by Defendant's failure to comply with its

            22   obligations pursuant to Civil Code section 1793.2(b), and therefore brings this Cause of

            23   Action pursuant to Civil Code section 7794.

            24          17   .   Plaintiff has rightfully rejected and/or justifiably revoked acceptance of the

            25   Vehicle, and has exercised a right to cancel the sale. By serving this Complaint, Plaintiff does

            26   so again. Accordingly, Plaintiff seeks the remedies provided in California       Civil Code section
            27   1794(b)(l), including the entire lease price. In the alternative, Plaintiff seeks the remedies set

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                                                                 Page 3

                                               COMPLAINT; JURY TRIAL DEMANDED
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               1   fortlr in California Civil Code section 1794(b)(2), including the diminution in value of the

               2   Vehicle resulting from its defects. Plaintiff believes that, at the present time, the Vehicle's
               a
               J   value is de minimis.

               4           18.     Defendant's failure to comply with its obligations under Civil Code section

               5   1793,2(b) was   willful, in that Defendant   and its representative were aware that they were

               6   obligated to seruice or repair the Vehicle to conform to the applicable express warranties

               l   within 30 days, yet they failed to do so. Accordingly, Plaintiff is entitled to a civil penalty of
               8   two times Plaintiffs actual damages pursuant to Civil Code section 1794(c).

               9                                     THIRD CAUSE OF ACTION
              10                             BY PLAINTIFF AGAINST DEFENDANT
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              11          vroLATroN oF suBDrvrsroN (AX3) oF                  crvrl   coDE sEcTroN         1793.2
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              I2           19.     Plaintiff incotporates by reference the allegations contained in paragraphs set
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              13   forth above.
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              l4           20.     In violation of Civil Code section 1793.2, subdivision (aX3), Defendant failed
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              15   to make available to its authorized service and repair facilities sufficient service literature and
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              t6   replacement parts to effect repairs during the express warranty period. Plaintiff has been
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F             17   damaged by Defendant's failure to comply with its obligations pursuant to
      a                                                                                            Civil Code section
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a             18   1793.2(a)(3), and therefore brings this Cause of Action pursuant to Civil Code section 1794.

              t9          21.      Defendant's failure to comply with its obligations under Civil Code section

             20    1793.2, subdivision (a)(3) was   wilful, in that Defendant knew of its obligation   to provide

             2l    literature and replacement parts sufficient to allow its repair facilities to effect repairs during

             22    the warranty period, yet Defendant failed to take any action to correct its failure to comply

             )7    with the law. Accordingly, Plaintiff is entitled to a civil penalty of two times Plaintiff s actual

             24    damages; pursuant to   Civil Code section 1794(c).
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                                                 COMPLAINT; JURY TRIAL DEMANDED
      Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 10 of 66 Page ID #:631




             1                                      FOURTH CAUSE OF ACTION
             2                                BY PLAINTIFF AGAINST DEFENDANT
             3                           BREACH OF EXPRESS WRITTEN WARRANTY

             4                                CIV. CODE,,    S 1791.2, SUBD. (a); g 179a)

             5            22.       Plaintiff incorporates by reference the allegations contained in paragraphs   set

             6   forth above.

             7            23.       In accordance with Defendant's warranty, Plaintiff delivered the Vehicle to

             8   Defendant's representative in this state to perform wananty repairs. Plaintiff did so within a

             9   reasonable time. Each time Plaintiff delivered the Vehicle, Plaintiff notified Defendant and its

            10   representative of the characteristics of the Defects. However, the representative failed to
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lJr         11   repair the Vehicle, breaching the terms of the written warranty on each occasion.
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tc    U     I2            24.    Plaintiff has been damaged by Defendant's failure to comply with its
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            13   obligations under the express warranty, and therefore brings this Cause of Action pursuant to
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            I4   Civil Code section 1794.
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      '2    15            25.    Defendant's failure to comply with its obligations under the express warranty
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            16   was   willful, in that Defendant   and its authorized representative were aware that they were
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      a     t7   obligated to repair the Defects, but they intentionally refused to do so. Accordingly, Plaintiff
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0           18   is entitled to a civil penalty of two times of Plaintiffs actual damages pursuant to Civil Code

            19   section 1794(c).

            20                                       FIFTH CAUSE OF ACTION
            2l                               BY PLAINTIFF AGAINST DEFENDANT
            22             BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
            23                                      (CN. CODE, $ 1791.1;      g 1794)

            24           26.     Plaintiff incorporates by reference the allegations contained in the paragraphs
            25   set forth above.

            26           27.     Pursuant to Civil Code section 1792, the sale of the Vehicle was accompanied

            27   by Defendant's implied wananty of merchantability. Pursuant to Civil Code section 179l,l,

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                                                                   Page 5

                                                 COMPLAINT; JURY TRIAL DEMANDED
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             1   the duration of the implied warranty is coextensive in duration with the duration of the express

             2   written warranty provided by Defendant, except that the duration is not to exceed one-year.

             3           28.     Pursuant to Civil Code section 1791.1 (a), the implied warranty         of
             4   merchantability means and includes that the Vehicle will comply with each of the following

             5   requirements:   (l)   The Vehicle    will   pass without objection in the trade under the contract

             6   description; (2) The Vehicle is fit for the ordinary purposes for which such goods are used; (3)

             7   The Vehicle is adequately contained, packaged, and labelled; (a) The Vehicle           will conform    to

             8   the promises or affirmations of fact made on the container or label.

             9          29.      Within one year of purchase, the Vehicle contained or developed the defects set

            10   forth above. The existence of each of these defects constitutes a breach of the implied
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IJi         11   warranty because the Vehicle (1) does not pass without objection in the trade under the
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a           I2   contract description, (2) is not    fit for   the ordinary puryoses for which such goods are used, (3)
td
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            13   is not adequately contained, packaged, and labelled, and (4) does not conform to the promises
c)
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            T4   or affirmations of fact made on the container or label.
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      \     15          30.      Plaintiff has been damaged by Defendant's failure to comply with its
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            t6   obligations under the implied warranty, and therefore brings this Cause of Action pursuant to
H     ,.
F           l7   Civil Code section 1794.
atr         18

            r9                                                     PRAYER
            20          PLAINTIFF PRAYS for judgment against Defendant as follows:

            2l                         a.   For Plaintiff s actual damages according to proof at the time of trial;

            22                         b.   For restifution;

            23                         c,   For a civil penalty in the amount of two times Plaintiff s actual damages

            24                              pursuant to Civil Code section 1794, subdivision (c) or (e);

            25                         d,   For any consequential and incidental damages;

            26                         e.   For costs of the suit and Plaintiff s reasonable attorneys' fees pursuant

            27                              to Civil Code section 1794, subdivision (d);

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                                                                       Page 6

                                                  COMPLAINT; JURY TRIAL DEMANDED
      Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 12 of 66 Page ID #:633




             1                      f.   For prejudgment interest at the legal rate; and

             2                      g.   For such other relief as the Court may deem proper
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             4                                    DEMAND F'O        JURY TRIAL
             5   Plaintiff hereby demands a jury trial on all causes of action asserted herein.

             6

             7   Dated: December 8,2016                          STRATEGIC LEGAL PRACTICES, APC

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                                                                          Walder
                                                                               Plaintiffs KARI EISENACHER
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                                               COMPLAINT; JURY TRIAL DEMANDED
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            EXHIBIT 2
                                                                                            Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 14 of 66 Page ID #:635



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                                                                                              5    Telephone: (310) 929-4900
                                                                                                   Facsimile: (310) 943-3838
                                                                                              6
                                                                                                   Attorneys for Plaintiffs KARI EISENACHER
                                                                                              7    and DAVID EISENACHER
                                                                                              8
                                                                                              9
                                                                                                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                                                             10
                                                                                                                      FOR THE COUNTY OF LOS ANGELES
STRATEGIC LEGAL PRACTICES, APC




                                                                                             11
                                 1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067




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                                                                                                  KARI EISENACHER and DAVID             Case No.: 2:17-cv-00984-ODW-JCx
                                                                                             13   EISENACHER,
                                                                                                                                         Hon. Otis D. Wright II
                                                                                             14                                          Dept.: Courtroom 5D
                                                                                                                Plaintiff,
                                                                                             15
                                                                                                          vs.                            [PROPOSED] FIRST AMENDED
                                                                                             16                                          COMPLAINT FOR VIOLATION
                                                                                             17                                          OF STATUTORY OBLIGATIONS
                                                                                                  BMW OF NORTH AMERICA, LLC;
                                                                                             18   PAG SANTA ANA B1, Inc.; and DOES
                                                                                                                                   JURY TRIAL DEMANDED
                                                                                                  1 through 10, inclusive,
                                                                                             19
                                                                                             20                 Defendants.
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                                                                                                                                       Page 1
                                                                                                             [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
                                                                                            Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 15 of 66 Page ID #:636



                                                                                              1          Plaintiff alleges as follows:
                                                                                              2                                          PARTIES
                                                                                              3          1.    As used in this Complaint, the word "Plaintiff” shall refer to
                                                                                              4    Plaintiffs KARI EISENACHER and DAVID EISENACHER.
                                                                                              5          2.    Plaintiff is a resident of Brea, California.
                                                                                              6          3.    As used in this Complaint, the word "Defendant" shall refer to all
                                                                                              7    Defendants named in this Complaint.
                                                                                              8          4.    Defendant BMW OF NORTH AMERICA is a corporation
                                                                                              9    organized and in existence under the laws of the State of Delaware and registered
                                                                                             10    with the California Department of Corporations to conduct business in
STRATEGIC LEGAL PRACTICES, APC




                                                                                             11    California. At all times relevant herein, Defendant was engaged in the business
                                 1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067




                                                                                             12    of designing, manufacturing, constructing, assembling, marketing, distributing,
                                                                                             13    and selling automobiles and other motor vehicles and motor vehicle components
                                                                                             14    in Los Angeles County.
                                                                                             15          5.    Defendant PAG SANTA ANA B1, Inc., conducts business in the
                                                                                             16    State of California under the name “Crevier BMW.” At all times relevant herein,
                                                                                             17    Defendant was engaged in the business of selling automobile components and
                                                                                             18    servicing and repairing automobiles in Los Angeles County.
                                                                                             19          6.    Plaintiff is ignorant of the true names and capacities of the
                                                                                             20    Defendants sued under the fictitious names DOES 1 to 10. They are sued
                                                                                             21    pursuant to Code of Civil Procedure section 474. When Plaintiff becomes aware
                                                                                             22    of the true names and capacities of the Defendants sued as DOES 1 to 10,
                                                                                             23    Plaintiff will amend this Complaint to state their true names and capacities.
                                                                                             24    ///
                                                                                             25    ///
                                                                                             26    ///
                                                                                             27
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                                                                                                                                           Page 1
                                                                                                              [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
                                                                                            Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 16 of 66 Page ID #:637



                                                                                              1                                  FIRST CAUSE OF ACTION
                                                                                              2                          BY PLAINTIFF AGAINST DEFENDANT
                                                                                              3               VIOLATION OF SUBDIVISION (D) OF CIVIL CODE SECTION
                                                                                              4                                           1793.2
                                                                                              5          7.      In 2012, Plaintiff purchased a 2012 BMW 550i, vehicle
                                                                                              6    identification number WBAFR9C5DCDV58985, (hereafter "Vehicle") which
                                                                                              7    was manufactured and or distributed by Defendant. The Vehicle was purchased
                                                                                              8    primarily for personal, family, or household purposes. Plaintiff purchased the
                                                                                              9    Vehicle from a person or entity engaged in the business of manufacturing,
                                                                                             10    distributing, or selling consumer goods at retail.
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                                                                                             11          8.      In connection with the purchase, Plaintiff received an express
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                                                                                             12    written warranty in which Defendant undertook to preserve or maintain the
                                                                                             13    utility or performance of the Vehicle or to provide compensation if there is a
                                                                                             14    failure in utility or performance for a specified period of time. The warranty
                                                                                             15    provided, in relevant part, that in the event a defect developed with the Vehicle
                                                                                             16    during the warranty period, Plaintiff could deliver the Vehicle for repair services
                                                                                             17    to Defendant's representative and the Vehicle would be repaired.
                                                                                             18          9.      During the warranty period, the Vehicle contained or developed
                                                                                             19    defects, including but not limited to defects causing: excessive oil consumption;
                                                                                             20    oil leakage; shimmy and noises in the steering wheel; smoke and oil coming
                                                                                             21    from the exhaust; fuel injector failure; faulty timing chain; faulty fuel feed lines;
                                                                                             22    faulty vacuum pumps and crankcase vent hoses; and faulty battery. Said defects
                                                                                             23    substantially impair the use, value, or safety of the Vehicle.
                                                                                             24          10.     Defendant and its representatives in this state have been unable to
                                                                                             25    service or repair the Vehicle to conform to the applicable express warranties
                                                                                             26    after a reasonable number of opportunities. Despite this fact, Defendant failed to
                                                                                             27    promptly replace the Vehicle or make restitution to Plaintiff as required by Civil
                                                                                             28
                                                                                                                                            Page 2
                                                                                                               [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1    Code section 1793.2, subdivision (d) and Civil Code section 1793.1, subdivision
                                                                                              2    (a)(2).
                                                                                              3           11.    Plaintiff has been damaged by Defendant's failure to comply with its
                                                                                              4    obligations pursuant to Civil Code section 1793.2, subdivision (d) and Civil
                                                                                              5    Code section 1793.1, subdivision (a)(2), and therefore brings this cause of action
                                                                                              6    pursuant to Civil Code section 1794.
                                                                                              7           12.    Defendant's failure to comply with its obligations under Civil Code
                                                                                              8    section 1793.2, subdivision (d) was willful, in that Defendant and its
                                                                                              9    representative were aware that they were unable to service or repair the Vehicle
                                                                                             10    to conform to the applicable express warranties after a reasonable number of
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                                                                                             11    repair attempts, yet Defendant failed and refused to promptly replace the Vehicle
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                                                                                             12    or make restitution. Accordingly, Plaintiff is entitled to a civil penalty of two
                                                                                             13    times Plaintiff’s actual damages pursuant to Civil Code section 1794, subdivision
                                                                                             14    (c).
                                                                                             15           13.    Defendant does not maintain a qualified third-party dispute
                                                                                             16    resolution process which substantially complies with Civil Code section 1793.22.
                                                                                             17    Accordingly, Plaintiff is entitled to a civil penalty of two times Plaintiff’s actual
                                                                                             18    damages pursuant to Civil Code section 1794, subdivision (e).
                                                                                             19           14.    Plaintiff seeks civil penalties pursuant to section 1794, subdivisions
                                                                                             20    (c), and (e) in the alternative and does not seek to cumulate civil penalties, as
                                                                                             21    provided in Civil Code section 1794, subdivision (f).
                                                                                             22                                SECOND CAUSE OF ACTION
                                                                                             23                          BY PLAINTIFF AGAINST DEFENDANT
                                                                                             24              VIOLATION OF SUBDIVISION (B) OF CIVIL CODE SECTION
                                                                                             25                                           1793.2
                                                                                             26           14.    Plaintiff incorporates by reference the allegations contained in the
                                                                                             27    paragraphs set forth above.
                                                                                             28
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                                                                                                                [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1          15.    Although Plaintiff presented the Vehicle to Defendant's
                                                                                              2    representative in this state, Defendant and its representative failed to commence
                                                                                              3    the service or repairs within a reasonable time and failed to service or repair the
                                                                                              4    Vehicle so as to conform to the applicable warranties within 30 days, in violation
                                                                                              5    of Civil Code section 1793.2, subdivision (b). Plaintiff did not extend the time
                                                                                              6    for completion of repairs beyond the 30-day requirement.
                                                                                              7          16.    Plaintiff has been damaged by Defendant's failure to comply with its
                                                                                              8    obligations pursuant to Civil Code section 1793.2(b), and therefore brings this
                                                                                              9    Cause of Action pursuant to Civil Code section 1794.
                                                                                             10          17.    Plaintiff has rightfully rejected and/or justifiably revoked acceptance
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                                                                                             11    of the Vehicle, and has exercised a right to cancel the sale. By serving this
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                                                                                             12    Complaint, Plaintiff does so again. Accordingly, Plaintiff seeks the remedies
                                                                                             13    provided in California Civil Code section 1794(b)(1), including the entire lease
                                                                                             14    price. In the alternative, Plaintiff seeks the remedies set forth in California Civil
                                                                                             15    Code section 1794(b)(2), including the diminution in value of the Vehicle
                                                                                             16    resulting from its defects. Plaintiff believes that, at the present time, the
                                                                                             17    Vehicle’s value is de minimis.
                                                                                             18          18.    Defendant's failure to comply with its obligations under Civil Code
                                                                                             19    section 1793.2(b) was willful, in that Defendant and its representative were
                                                                                             20    aware that they were obligated to service or repair the Vehicle to conform to the
                                                                                             21    applicable express warranties within 30 days, yet they failed to do so.
                                                                                             22    Accordingly, Plaintiff is entitled to a civil penalty of two times Plaintiff's actual
                                                                                             23    damages pursuant to Civil Code section 1794(c).
                                                                                             24    ///
                                                                                             25    ///
                                                                                             26    ///
                                                                                             27    ///
                                                                                             28
                                                                                                                                            Page 4
                                                                                                               [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1                                  THIRD CAUSE OF ACTION
                                                                                              2                          BY PLAINTIFF AGAINST DEFENDANT
                                                                                              3           VIOLATION OF SUBDIVISION (A)(3) OF CIVIL CODE SECTION
                                                                                              4                                           1793.2
                                                                                              5          19.    Plaintiff incorporates by reference the allegations contained in
                                                                                              6    paragraphs set forth above.
                                                                                              7          20.    In violation of Civil Code section 1793.2, subdivision (a)(3),
                                                                                              8    Defendant failed to make available to its authorized service and repair facilities
                                                                                              9    sufficient service literature and replacement parts to effect repairs during the
                                                                                             10    express warranty period. Plaintiff has been damaged by Defendant's failure to
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                                                                                             11    comply with its obligations pursuant to Civil Code section 1793.2(a)(3), and
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                                                                                             12    therefore brings this Cause of Action pursuant to Civil Code section 1794.
                                                                                             13          21.    Defendant's failure to comply with its obligations under Civil Code
                                                                                             14    section 1793.2, subdivision (a)(3) was wilful, in that Defendant knew of its
                                                                                             15    obligation to provide literature and replacement parts sufficient to allow its
                                                                                             16    repair facilities to effect repairs during the warranty period, yet Defendant failed
                                                                                             17    to take any action to correct its failure to comply with the law. Accordingly,
                                                                                             18    Plaintiff is entitled to a civil penalty of two times Plaintiff's actual damages;
                                                                                             19    pursuant to Civil Code section 1794(c).
                                                                                             20                                FOURTH CAUSE OF ACTION
                                                                                             21                          BY PLAINTIFF AGAINST DEFENDANT
                                                                                             22                     BREACH OF EXPRESS WRITTEN WARRANTY
                                                                                             23                           CIV. CODE, § 1791.2, SUBD. (a); § 1794)
                                                                                             24          22.    Plaintiff incorporates by reference the allegations contained in
                                                                                             25    paragraphs set forth above.
                                                                                             26          23.    In accordance with Defendant's warranty, Plaintiff delivered the
                                                                                             27    Vehicle to Defendant's representative in this state to perform warranty repairs.
                                                                                             28
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                                                                                                               [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1    Plaintiff did so within a reasonable time. Each time Plaintiff delivered the
                                                                                              2    Vehicle, Plaintiff notified Defendant and its representative of the characteristics
                                                                                              3    of the Defects. However, the representative failed to repair the Vehicle,
                                                                                              4    breaching the terms of the written warranty on each occasion.
                                                                                              5          24.    Plaintiff has been damaged by Defendant's failure to comply with its
                                                                                              6    obligations under the express warranty, and therefore brings this Cause of Action
                                                                                              7    pursuant to Civil Code section 1794.
                                                                                              8          25.    Defendant's failure to comply with its obligations under the express
                                                                                              9    warranty was willful, in that Defendant and its authorized representative were
                                                                                             10    aware that they were obligated to repair the Defects, but they intentionally
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                                                                                             11    refused to do so. Accordingly, Plaintiff is entitled to a civil penalty of two times
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                                                                                             12    of Plaintiff's actual damages pursuant to Civil Code section 1794(c).
                                                                                             13                                  FIFTH CAUSE OF ACTION
                                                                                             14                          BY PLAINTIFF AGAINST DEFENDANT
                                                                                             15                      BREACH OF THE IMPLIED WARRANTY OF
                                                                                             16                                  MERCHANTABILITY
                                                                                             17                                  (CIV. CODE, § 1791.1; § 1794)
                                                                                             18          26.    Plaintiff incorporates by reference the allegations contained in the
                                                                                             19    paragraphs set forth above.
                                                                                             20          27.    Pursuant to Civil Code section 1792, the sale of the Vehicle was
                                                                                             21    accompanied by Defendant's implied warranty of merchantability. Pursuant to
                                                                                             22    Civil Code section 1791.1, the duration of the implied warranty is coextensive in
                                                                                             23    duration with the duration of the express written warranty provided by
                                                                                             24    Defendant, except that the duration is not to exceed one-year.
                                                                                             25          28.    Pursuant to Civil Code section 1791.1 (a), the implied warranty of
                                                                                             26    merchantability means and includes that the Vehicle will comply with each of
                                                                                             27    the following requirements: (1) The Vehicle will pass without objection in the
                                                                                             28
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                                                                                                               [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1    trade under the contract description; (2) The Vehicle is fit for the ordinary
                                                                                              2    purposes for which such goods are used; (3) The Vehicle is adequately
                                                                                              3    contained, packaged, and labelled; (4) The Vehicle will conform to the promises
                                                                                              4    or affirmations of fact made on the container or label.
                                                                                              5          29.    Within one year of purchase, the Vehicle contained or developed the
                                                                                              6    defects set forth above. The existence of each of these defects constitutes a
                                                                                              7    breach of the implied warranty because the Vehicle (1) does not pass without
                                                                                              8    objection in the trade under the contract description, (2) is not fit for the ordinary
                                                                                              9    purposes for which such goods are used, (3) is not adequately contained,
                                                                                             10    packaged, and labelled, and (4) does not conform to the promises or affirmations
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                                                                                             11    of fact made on the container or label.
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                                                                                             12          30.    Plaintiff has been damaged by Defendant's failure to comply with its
                                                                                             13    obligations under the implied warranty, and therefore brings this Cause of Action
                                                                                             14    pursuant to Civil Code section 1794..
                                                                                             15                              SIXTH CAUSE OF ACTION
                                                                                             16                      BY PLAINTIFFS AGAINST DEFENDANT
                                                                                             17             VIOLATION OF CONSUMER LEGAL REMEDIES ACT
                                                                                             18                               (CIV. CODE §§ 1750 et seq.)
                                                                                             19          31.    Plaintiffs incorporate by reference the allegations contained in the
                                                                                             20    paragraphs set forth above.
                                                                                             21          32.    Defendant BMW OF NORTH AMERICA is a “person” as defined by
                                                                                             22    California Civil Code § 1761(c).
                                                                                             23          33.    Plaintiffs are a “consumer” within the meaning of California Civil
                                                                                             24    Code § 1761(d).
                                                                                             25          34.    On or about November 11, 2012, Plaintiffs purchased the Vehicle as
                                                                                             26    manufactured with Defendant’s engine and components.
                                                                                             27          35.    Defendant violated the California Consumer Legal Remedies Act
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                                                                                                               [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1    (“CLRA”) when, inter alia, it engaged in unfair and deceptive acts, and by
                                                                                              2    knowingly warranting and allowing to be sold to Plaintiffs the Vehicle without
                                                                                              3    disclosing that the Vehicle and its engine was defective.
                                                                                              4          36.    Specifically, Defendant knew that 2012 BMW 550i vehicles equipped
                                                                                              5    with the N63 engine had one or more defects that can result in various problems,
                                                                                              6    including, but not limited to, improperly burning off and/or consuming abnormally
                                                                                              7    high amounts of engine oil. (“Oil Consumption Defect”). The Oil Consumption
                                                                                              8    Defect decreases the lubrication available to engine parts, which results in
                                                                                              9    premature failure. As a consequence, the Oil Consumption Defect requires
                                                                                             10    unreasonably frequent oil changes and/or the addition of oil between scheduled oil
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                                                                                             11    changes
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                                                                                             12          37.    These conditions present a safety hazard and are unreasonably
                                                                                             13    dangerous to consumers. This is because the Oil Consumption Defect prevents the
                                                                                             14    engine from maintaining the proper level of engine oil and causes voluminous oil
                                                                                             15    consumption that cannot be reasonably anticipated or predicted, thereby potentially
                                                                                             16    causing engine failure while the vehicle is operation at any time and under any
                                                                                             17    driving conditions or speeds and thus contributing to car accidents.
                                                                                             18          38.    In addition to these safety hazards, the Oil Consumption Defect can
                                                                                             19    result in additional monetary costs to consumers such as Plaintiffs, who can incur
                                                                                             20    costs for unreasonably frequent oil changes and/or oil additions, in addition to repair
                                                                                             21    costs due to resulting breakdown of engine parts.
                                                                                             22          39.    Plaintiffs are informed, believe, and thereon allege that while
                                                                                             23    Defendant knew about the Oil Consumption Defect, and its safety risks since at least
                                                                                             24    2010, and prior to Plaintiffs acquiring the Vehicle, Defendant nevertheless
                                                                                             25    concealed and failed to disclose the defective nature of the Vehicle and its N63
                                                                                             26    engine to Plaintiffs at the time of sale and thereafter. Had Plaintiffs known that the
                                                                                             27    subject Vehicle suffered from the Oil Consumption Defect, they would not have
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                                                                                                               [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1    purchased the Vehicle.
                                                                                              2          40.    By failing to disclose and concealing the defective nature of the Oil
                                                                                              3    Defect from Plaintiffs, Defendant violated California Civil Code § 1770(a), as it i)
                                                                                              4    represented that the Vehicle and its engine had characteristics and benefits that they
                                                                                              5    do not have, and ii) represented that the Vehicle and its N63 engine were of a
                                                                                              6    particular standard, quality, or grade when they were of another. See Cal. Civ. Code
                                                                                              7    §§ 1770(a)(5) and (7).
                                                                                              8          41.    Unfair and deceptive acts or practices occurred repeatedly in
                                                                                              9    Defendant’s trade or business, were capable of deceiving not only Plaintiffs but a
                                                                                             10    substantial portion of the purchasing public, and imposed a serious safety risk on
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                                                                                             11    the public, including Plaintiffs.
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                                                                                             12          42.    Defendant knew that the Vehicle and its N63 engine suffered from an
                                                                                             13    inherent defect, were defective, would fail prematurely, and were not suitable for
                                                                                             14    their intended use.
                                                                                             15          43.    Defendant was under a duty to Plaintiffs to disclose the defective
                                                                                             16    nature of the Vehicle and its N63 engine, its safety consequences and/or the
                                                                                             17    associated repair costs, for the following reasons:
                                                                                             18                 a.       Upon information and belief, Defendant acquired its
                                                                                             19                          knowledge of the Oil Consumption Defect and its potential
                                                                                             20                          consequences prior to Plaintiffs acquiring the Vehicle,
                                                                                             21                          through sources not available to consumers such as Plaintiffs,
                                                                                             22                          including but not limited to pre-production testing data, post-
                                                                                             23                          production testing, early consumer complaints about the Oil
                                                                                             24                          Consumption Defect made directly to Defendant and its
                                                                                             25                          network of dealers, aggregate warranty data compiled from
                                                                                             26                          Defendant’s network of dealers, testing conducted by
                                                                                             27                          Defendant in response to these complaints, as well as
                                                                                             28
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                                                                                                               [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1                       warranty repair and part replacements data received by
                                                                                              2                       Defendant from Defendant’s network of dealers, amongst
                                                                                              3                       other sources of internal information;
                                                                                              4                 b.    Defendant was in a superior position to know the true state of
                                                                                              5                       facts about the safety defects contained in the Vehicle and its
                                                                                              6                       engine;
                                                                                              7                 c.    Plaintiffs could not reasonably have been expected to learn
                                                                                              8                       about or discover the Vehicle’s Oil Consumption Defect and
                                                                                              9                       its potential consequences until after Plaintiffs purchased the
                                                                                             10                       Vehicle and Defendant failed to repair it after a number of
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                                                                                             11                       repair attempts;
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                                                                                             12                 d.    Defendant knew (or should have known) that Plaintiffs could
                                                                                             13                       not reasonably have been expected to learn about or discover
                                                                                             14                       the Oil Consumption Defect and its potential safety
                                                                                             15                       consequences prior to purchasing the subject Vehicle;
                                                                                             16                 e.    Defendant knew (or should have known) that Plaintiffs could
                                                                                             17                       not reasonably have been expected to learn about the Oil
                                                                                             18                       Consumption defect until after the engine failed and
                                                                                             19                       Defendant’s inability to repair it after a number of repair
                                                                                             20                       attempts.
                                                                                             21          44.    In failing to disclose the defects in the Vehicle’s N63 engine,
                                                                                             22    Defendant has knowingly and intentionally concealed material facts and
                                                                                             23    breached its duty not to do so.
                                                                                             24          45.    The facts concealed or not disclosed by Defendant to Plaintiffs are
                                                                                             25    material in that a reasonable person would have considered them to be important
                                                                                             26    in deciding whether or not to purchase the Vehicle. Had Plaintiffs known that
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                                                                                             28
                                                                                                                                          Page 10
                                                                                                               [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1    the Vehicle and its engine were defective at the time of sale, he would not have
                                                                                              2    purchased the Vehicle.
                                                                                              3              46.    Plaintiffs are reasonable consumers who do not expect their
                                                                                              4    Vehicle’s engine to fail and not work properly. Plaintiffs further expect and
                                                                                              5    assume that Defendant will not sell or lease vehicles with known material
                                                                                              6    defects, including but not limited to those involving the Vehicle’s engine, and
                                                                                              7    will disclose any such defect to its consumers before selling such vehicles.
                                                                                              8              47.     As a result of Defendant’s misconduct, Plaintiffs have been harmed
                                                                                              9    and have suffered actual damages.
                                                                                             10              48.    As a direct and proximate result of Defendant’s unfair or deceptive
STRATEGIC LEGAL PRACTICES, APC




                                                                                             11    acts or practices, Plaintiffs have suffered and will continue to suffer actual
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                                                                                             12    damages.
                                                                                             13              49.    Plaintiffs are entitled to equitable and injunctive relief under the
                                                                                             14    CLRA.
                                                                                             15              50.    Plaintiffs have provided Defendant with notice of its alleged
                                                                                             16    violations of the CLRA pursuant to California Civil Code § 1782(a). More than
                                                                                             17    30 days have since elapsed and Defendant has failed to provide appropriate relief
                                                                                             18    for its violations of the CLRA. Accordingly, Plaintiffs seek monetary,
                                                                                             19    compensatory, and punitive damages, in addition to the injunctive and equitable
                                                                                             20    relief.
                                                                                             21                               SEVENTH CAUSE OF ACTION
                                                                                             22                         BY PLAINTIFFS AGAINST DEFENDANT
                                                                                             23                                    FRAUD BY OMISSION
                                                                                             24              51.    Plaintiffs hereby incorporate by reference the allegations contained
                                                                                             25    in the preceding paragraphs of this Complaint.
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                                                                                             27
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                                                                                                                                              Page 11
                                                                                                                   [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1            52.      Plaintiffs purchased the Vehicle as manufactured with Defendant
                                                                                              2    BMW’s V-8, twin-turbocharged engine, which BMW and enthusiasts refer to as
                                                                                              3    the “N63.”
                                                                                              4            53.      Defendant BMW committed fraud by allowing the Vehicle to be sold
                                                                                              5    to Plaintiffs without disclosing that the Vehicle and its N63 engine was defective
                                                                                              6    and susceptible to sudden and premature failure.
                                                                                              7            54.      In particular, Plaintiffs are informed, believe, and thereon allege that
                                                                                              8    prior to Plaintiffs acquiring the Vehicle, BMW was well aware and knew that the
                                                                                              9    N63 engine installed on the Vehicle was defective but failed to disclose this fact
                                                                                             10    to Plaintiffs at the time of lease and sale and thereafter.1
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                                                                                             11            55.      Specifically, BMW knew (or should have known) that the twin-turbo
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                                                                                             12    charged engine had one or more defects that cause the subject vehicle to be unable
                                                                                             13    to properly utilize the engine oil and, in fact, to improperly burn off and/or
                                                                                             14    consume abnormally high amounts of oil (the “Oil Consumption Defect”). The
                                                                                             15    Oil Consumption Defect decreases the lubrication available to engine parts, which
                                                                                             16    results in premature failure. As a consequence, the Oil Consumption Defect
                                                                                             17    requires unreasonably frequent oil changes and/or the addition of oil between
                                                                                             18    scheduled oil changes.2
                                                                                             19            56.      The Oil Consumption Defect is a safety concern because it prevents
                                                                                             20    the engine from maintaining the proper level of engine oil, and causes voluminous
                                                                                             21    oil consumption that cannot be reasonably anticipated or predicted. Therefore, the
                                                                                             22    Oil Consumption Defect is unreasonably dangerous because it can cause engine
                                                                                             23    failure while the subject vehicle is in operation at any time and under any driving
                                                                                             24
                                                                                             25
                                                                                                   1
                                                                                                     Indeed, Defendant has issued various internal technical bulletins to its dealers (not consumers) concerning the
                                                                                             26    Engine Defect.
                                                                                                   2
                                                                                                     The Oil Consumption Defect was particularly apparent in a recent Consumer Reports study on excessive oil
                                                                                             27    consumption. Consumer Reports studied 498,900 vehicles across several makes and models for complaints about
                                                                                                   engine oil consumption and concluded BMW’s twin turbocharged engine was included on four out of the five most
                                                                                             28    defective vehicles.
                                                                                                                                                           Page 12
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                                                                                              1    conditions or speeds, thereby exposing the subject vehicle’s driver, passengers,
                                                                                              2    and others who share the road with them, to serious risk of accidents and injury.
                                                                                              3          57.      Plaintiffs are informed, believe and thereon allege that Defendant
                                                                                              4    BMW acquired its knowledge of the Oil Consumption Defect prior to Plaintiffs
                                                                                              5    acquiring the Vehicle, though sources not available to consumers such as
                                                                                              6    Plaintiffs, including but not limited to pre-production and post-production testing
                                                                                              7    data, early consumer complaints about the engine defect made directly to BMW
                                                                                              8    and its network of dealers, aggregate warranty data compiled from BMW’s
                                                                                              9    network of dealers, testing conducted by BMW in response to these complaints,
                                                                                             10    as well as warranty repair and parts replacement data received by BMW from
                                                                                                   BMW’s network of dealers, amongst other sources of internal information.
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                                                                                             12          58.      Plaintiffs are informed, believe, and thereon allege that while
                                                                                             13    Defendant BMW knew about the Oil Consumption Defect, and its safety risks
                                                                                             14    since mid-2008, if not before, BMW nevertheless concealed and failed to disclose
                                                                                             15    the defective nature of the Vehicle and its N63 engine to Plaintiffs at the time of
                                                                                             16    lease and/or sale and thereafter. Had Plaintiffs known that the Vehicle suffered
                                                                                             17    from the Oil Consumption Defect, they would not have leased and/or purchased
                                                                                             18    the Vehicle.
                                                                                             19          59.      Indeed, Plaintiffs allege that prior to the lease and/or sale of the
                                                                                             20    Vehicle to Plaintiff, Defendant BMW knew that the Vehicle and its N63 engine
                                                                                             21    suffered from an inherent defect, was defective, would fail prematurely, and was
                                                                                             22    not suitable for its intended use.
                                                                                             23          60.      Defendant BMW was under a duty to Plaintiffs to disclose the
                                                                                             24    defective nature of the Vehicle and its N63 engine, its safety consequences and/or
                                                                                             25    the associated repair costs because:
                                                                                             26                a. Defendant BMW acquired its knowledge of the Oil Consumption
                                                                                             27                   Defect and its potential consequences prior to Plaintiffs acquiring the
                                                                                             28
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                                                                                              1                  Vehicle, through sources not available to consumers such as Plaintiff,
                                                                                              2                  including but not limited to pre-production and post-production
                                                                                              3                  testing data, early consumer complaints about the Oil Consumption
                                                                                              4                  Defect made directly to BMW and its network of dealers, aggregate
                                                                                              5                  warranty data compiled from BMW’s network of dealers, testing
                                                                                              6                  conducted by BMW in response to these complaints, as well as
                                                                                              7                  warranty repair and part replacements data received by BMW from
                                                                                              8                  its network of dealers, amongst other sources of internal information;
                                                                                              9                b. Defendant BMW was in a superior position from various internal
                                                                                             10                  sources to know (or should have known) the true state of facts about
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                                                                                             11                  the material defects contained in vehicles equipped with N63 engine;
                                 1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067




                                                                                             12                  and
                                                                                             13                c. Plaintiffs could not reasonably have been expected to learn or
                                                                                             14                  discover of the Vehicle’s Oil Consumption Defect and its potential
                                                                                             15                  consequences until well after Plaintiffs leased and/or purchased the
                                                                                             16                  Vehicle.
                                                                                             17          61.     In failing to disclose the defects in the Vehicle’s N63 engine,
                                                                                             18    Defendant BMW has knowingly and intentionally concealed material facts and
                                                                                             19    breached its duty not to do so.
                                                                                             20          62.     The facts concealed or not disclosed by Defendant BMW to Plaintiffs
                                                                                             21    is material in that a reasonable person would have considered them to be important
                                                                                             22    in deciding whether or not to lease and/or purchase the Vehicle. Had Plaintiffs
                                                                                             23    known that the Vehicle and its N63 engine were defective at the time of lease
                                                                                             24    and/or sale, they would not have leased and/or purchased the Vehicle.
                                                                                             25          63.     Plaintiffs are reasonable consumers who do not expect their engine
                                                                                             26    to fail and not work properly. Plaintiffs further expect and assume that Defendant
                                                                                             27    BMW will not sell or lease vehicles with known material defects, including but
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                                                                                              1    not limited to those involving the vehicle’s N63 engine and will disclose any such
                                                                                              2    defect to its consumers before selling such vehicles.
                                                                                              3          64.    As a result of Defendant BMW’s misconduct, Plaintiffs have
                                                                                              4    suffered and will continue to suffer actual damages.
                                                                                              5                                          PRAYER
                                                                                              6          PLAINTIFF PRAYS for judgment against Defendant as follows:
                                                                                              7                    a. For Plaintiffs’ actual damages according to proof at the time
                                                                                              8                       of trial;
                                                                                              9                    b. For restitution;
                                                                                             10                    c. For a civil penalty in the amount of two times Plaintiffs’
STRATEGIC LEGAL PRACTICES, APC




                                                                                             11                       actual damages pursuant to Civil Code section 1794,
                                 1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067




                                                                                             12                       subdivision (c) or (e);
                                                                                             13                    d. For any consequential and incidental damages;
                                                                                             14                    e. For punitive damages;
                                                                                             15                    f. For costs of the suit and Plaintiff’s reasonable attorneys’ fees
                                                                                             16                       pursuant to Civil Code section 1794, subdivision (d);
                                                                                             17                    g. For prejudgment interest at the legal rate; and
                                                                                             18                    h. For such other relief as the Court may deem proper.
                                                                                             19                             DEMAND FOR JURY TRIAL
                                                                                             20    Plaintiff hereby demands a jury trial on all causes of action asserted herein.
                                                                                             21
                                                                                                   Dated: November 6, 2017                  Respectfully submitted,
                                                                                             22
                                                                                                                                            Strategic Legal Practices, APC
                                                                                             23
                                                                                             24                                          By: /s/ Anna L. Knafo
                                                                                                                                            Anna Lisa Knafo
                                                                                             25                                             Attorneys for Plaintiffs Kari Eisenacher
                                                                                                                                            and David Eisenacher
                                                                                             26
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            EXHIBIT 3
                                                                                            Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 32 of 66 Page ID #:653



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                                                                                                   Facsimile: (310) 943-3838
                                                                                              6
                                                                                                   Attorneys for Plaintiffs KARI EISENACHER
                                                                                              7    and DAVID EISENACHER
                                                                                              8
                                                                                              9
                                                                                                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                                                             10
                                                                                                                      FOR THE COUNTY OF LOS ANGELES
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                                 1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067




                                                                                             12
                                                                                                  KARI EISENACHER and DAVID             Case No.: 2:17-cv-00984-ODW-JCx
                                                                                             13   EISENACHER,
                                                                                                                                         Hon. Otis D. Wright II
                                                                                             14                                          Dept.: Courtroom 5D
                                                                                                                Plaintiff,
                                                                                             15
                                                                                                          vs.                            [PROPOSED] FIRST AMENDED
                                                                                             16                                          COMPLAINT FOR VIOLATION
                                                                                             17                                          OF STATUTORY OBLIGATIONS
                                                                                                  BMW OF NORTH AMERICA, LLC;
                                                                                             18   PAG SANTA ANA B1, Inc.; and DOES
                                                                                                                                   JURY TRIAL DEMANDED
                                                                                                  1 through 10, inclusive,
                                                                                             19
                                                                                             20                 Defendants.
                                                                                             21
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                                                                                              1          Plaintiff alleges as follows:
                                                                                              2                                          PARTIES
                                                                                              3          1.    As used in this Complaint, the word "Plaintiff” shall refer to
                                                                                              4    Plaintiffs KARI EISENACHER and DAVID EISENACHER.
                                                                                              5          2.    Plaintiff is a resident of Brea, California.
                                                                                              6          3.    As used in this Complaint, the word "Defendant" shall refer to all
                                                                                              7    Defendants named in this Complaint.
                                                                                              8          4.    Defendant BMW OF NORTH AMERICA is a corporation
                                                                                              9    organized and in existence under the laws of the State of Delaware and registered
                                                                                             10    with the California Department of Corporations to conduct business in
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                                                                                             11    California. At all times relevant herein, Defendant was engaged in the business
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                                                                                             12    of designing, manufacturing, constructing, assembling, marketing, distributing,
                                                                                             13    and selling automobiles and other motor vehicles and motor vehicle components
                                                                                             14    in Los Angeles County.
                                                                                             15          5.    Defendant PAG SANTA ANA B1, Inc., conducts business in the
                                                                                             16    State of California under the name “Crevier BMW.” At all times relevant herein,
                                                                                             17    Defendant was engaged in the business of selling automobile components and
                                                                                             18    servicing and repairing automobiles in Los Angeles County.
                                                                                             19          6.    Plaintiff is ignorant of the true names and capacities of the
                                                                                             20    Defendants sued under the fictitious names DOES 1 to 10. They are sued
                                                                                             21    pursuant to Code of Civil Procedure section 474. When Plaintiff becomes aware
                                                                                             22    of the true names and capacities of the Defendants sued as DOES 1 to 10,
                                                                                             23    Plaintiff will amend this Complaint to state their true names and capacities.
                                                                                             24    ///
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                                                                                                              [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1                                  FIRST CAUSE OF ACTION
                                                                                              2                          BY PLAINTIFF AGAINST DEFENDANT
                                                                                              3               VIOLATION OF SUBDIVISION (D) OF CIVIL CODE SECTION
                                                                                              4                                           1793.2
                                                                                              5          7.      In 2012, Plaintiff purchased a 2012 BMW 550i, vehicle
                                                                                              6    identification number WBAFR9C5DCDV58985, (hereafter "Vehicle") which
                                                                                              7    was manufactured and or distributed by Defendant. The Vehicle was purchased
                                                                                              8    primarily for personal, family, or household purposes. Plaintiff purchased the
                                                                                              9    Vehicle from a person or entity engaged in the business of manufacturing,
                                                                                             10    distributing, or selling consumer goods at retail.
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                                                                                             11          8.      In connection with the purchase, Plaintiff received an express
                                 1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067




                                                                                             12    written warranty in which Defendant undertook to preserve or maintain the
                                                                                             13    utility or performance of the Vehicle or to provide compensation if there is a
                                                                                             14    failure in utility or performance for a specified period of time. The warranty
                                                                                             15    provided, in relevant part, that in the event a defect developed with the Vehicle
                                                                                             16    during the warranty period, Plaintiff could deliver the Vehicle for repair services
                                                                                             17    to Defendant's representative and the Vehicle would be repaired.
                                                                                             18          9.      During the warranty period, the Vehicle contained or developed
                                                                                             19    defects, including but not limited to defects causing: excessive oil consumption;
                                                                                             20    oil leakage; shimmy and noises in the steering wheel; smoke and oil coming
                                                                                             21    from the exhaust; fuel injector failure; faulty timing chain; faulty fuel feed lines;
                                                                                             22    faulty vacuum pumps and crankcase vent hoses; and faulty battery. Said defects
                                                                                             23    substantially impair the use, value, or safety of the Vehicle.
                                                                                             24          10.     Defendant and its representatives in this state have been unable to
                                                                                             25    service or repair the Vehicle to conform to the applicable express warranties
                                                                                             26    after a reasonable number of opportunities. Despite this fact, Defendant failed to
                                                                                             27    promptly replace the Vehicle or make restitution to Plaintiff as required by Civil
                                                                                             28
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                                                                                                               [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1    Code section 1793.2, subdivision (d) and Civil Code section 1793.1, subdivision
                                                                                              2    (a)(2).
                                                                                              3           11.    Plaintiff has been damaged by Defendant's failure to comply with its
                                                                                              4    obligations pursuant to Civil Code section 1793.2, subdivision (d) and Civil
                                                                                              5    Code section 1793.1, subdivision (a)(2), and therefore brings this cause of action
                                                                                              6    pursuant to Civil Code section 1794.
                                                                                              7           12.    Defendant's failure to comply with its obligations under Civil Code
                                                                                              8    section 1793.2, subdivision (d) was willful, in that Defendant and its
                                                                                              9    representative were aware that they were unable to service or repair the Vehicle
                                                                                             10    to conform to the applicable express warranties after a reasonable number of
STRATEGIC LEGAL PRACTICES, APC




                                                                                             11    repair attempts, yet Defendant failed and refused to promptly replace the Vehicle
                                 1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067




                                                                                             12    or make restitution. Accordingly, Plaintiff is entitled to a civil penalty of two
                                                                                             13    times Plaintiff’s actual damages pursuant to Civil Code section 1794, subdivision
                                                                                             14    (c).
                                                                                             15           13.    Defendant does not maintain a qualified third-party dispute
                                                                                             16    resolution process which substantially complies with Civil Code section 1793.22.
                                                                                             17    Accordingly, Plaintiff is entitled to a civil penalty of two times Plaintiff’s actual
                                                                                             18    damages pursuant to Civil Code section 1794, subdivision (e).
                                                                                             19           14.    Plaintiff seeks civil penalties pursuant to section 1794, subdivisions
                                                                                             20    (c), and (e) in the alternative and does not seek to cumulate civil penalties, as
                                                                                             21    provided in Civil Code section 1794, subdivision (f).
                                                                                             22                                SECOND CAUSE OF ACTION
                                                                                             23                          BY PLAINTIFF AGAINST DEFENDANT
                                                                                             24              VIOLATION OF SUBDIVISION (B) OF CIVIL CODE SECTION
                                                                                             25                                           1793.2
                                                                                             26           14.    Plaintiff incorporates by reference the allegations contained in the
                                                                                             27    paragraphs set forth above.
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                                                                                                                [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1          15.    Although Plaintiff presented the Vehicle to Defendant's
                                                                                              2    representative in this state, Defendant and its representative failed to commence
                                                                                              3    the service or repairs within a reasonable time and failed to service or repair the
                                                                                              4    Vehicle so as to conform to the applicable warranties within 30 days, in violation
                                                                                              5    of Civil Code section 1793.2, subdivision (b). Plaintiff did not extend the time
                                                                                              6    for completion of repairs beyond the 30-day requirement.
                                                                                              7          16.    Plaintiff has been damaged by Defendant's failure to comply with its
                                                                                              8    obligations pursuant to Civil Code section 1793.2(b), and therefore brings this
                                                                                              9    Cause of Action pursuant to Civil Code section 1794.
                                                                                             10          17.    Plaintiff has rightfully rejected and/or justifiably revoked acceptance
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                                                                                             11    of the Vehicle, and has exercised a right to cancel the sale. By serving this
                                 1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067




                                                                                             12    Complaint, Plaintiff does so again. Accordingly, Plaintiff seeks the remedies
                                                                                             13    provided in California Civil Code section 1794(b)(1), including the entire lease
                                                                                             14    price. In the alternative, Plaintiff seeks the remedies set forth in California Civil
                                                                                             15    Code section 1794(b)(2), including the diminution in value of the Vehicle
                                                                                             16    resulting from its defects. Plaintiff believes that, at the present time, the
                                                                                             17    Vehicle’s value is de minimis.
                                                                                             18          18.    Defendant's failure to comply with its obligations under Civil Code
                                                                                             19    section 1793.2(b) was willful, in that Defendant and its representative were
                                                                                             20    aware that they were obligated to service or repair the Vehicle to conform to the
                                                                                             21    applicable express warranties within 30 days, yet they failed to do so.
                                                                                             22    Accordingly, Plaintiff is entitled to a civil penalty of two times Plaintiff's actual
                                                                                             23    damages pursuant to Civil Code section 1794(c).
                                                                                             24    ///
                                                                                             25    ///
                                                                                             26    ///
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                                                                                                               [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1                                  THIRD CAUSE OF ACTION
                                                                                              2                          BY PLAINTIFF AGAINST DEFENDANT
                                                                                              3           VIOLATION OF SUBDIVISION (A)(3) OF CIVIL CODE SECTION
                                                                                              4                                           1793.2
                                                                                              5          19.    Plaintiff incorporates by reference the allegations contained in
                                                                                              6    paragraphs set forth above.
                                                                                              7          20.    In violation of Civil Code section 1793.2, subdivision (a)(3),
                                                                                              8    Defendant failed to make available to its authorized service and repair facilities
                                                                                              9    sufficient service literature and replacement parts to effect repairs during the
                                                                                             10    express warranty period. Plaintiff has been damaged by Defendant's failure to
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                                                                                             11    comply with its obligations pursuant to Civil Code section 1793.2(a)(3), and
                                 1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067




                                                                                             12    therefore brings this Cause of Action pursuant to Civil Code section 1794.
                                                                                             13          21.    Defendant's failure to comply with its obligations under Civil Code
                                                                                             14    section 1793.2, subdivision (a)(3) was wilful, in that Defendant knew of its
                                                                                             15    obligation to provide literature and replacement parts sufficient to allow its
                                                                                             16    repair facilities to effect repairs during the warranty period, yet Defendant failed
                                                                                             17    to take any action to correct its failure to comply with the law. Accordingly,
                                                                                             18    Plaintiff is entitled to a civil penalty of two times Plaintiff's actual damages;
                                                                                             19    pursuant to Civil Code section 1794(c).
                                                                                             20                                FOURTH CAUSE OF ACTION
                                                                                             21                          BY PLAINTIFF AGAINST DEFENDANT
                                                                                             22                     BREACH OF EXPRESS WRITTEN WARRANTY
                                                                                             23                           CIV. CODE, § 1791.2, SUBD. (a); § 1794)
                                                                                             24          22.    Plaintiff incorporates by reference the allegations contained in
                                                                                             25    paragraphs set forth above.
                                                                                             26          23.    In accordance with Defendant's warranty, Plaintiff delivered the
                                                                                             27    Vehicle to Defendant's representative in this state to perform warranty repairs.
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                                                                                                               [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1    Plaintiff did so within a reasonable time. Each time Plaintiff delivered the
                                                                                              2    Vehicle, Plaintiff notified Defendant and its representative of the characteristics
                                                                                              3    of the Defects. However, the representative failed to repair the Vehicle,
                                                                                              4    breaching the terms of the written warranty on each occasion.
                                                                                              5          24.    Plaintiff has been damaged by Defendant's failure to comply with its
                                                                                              6    obligations under the express warranty, and therefore brings this Cause of Action
                                                                                              7    pursuant to Civil Code section 1794.
                                                                                              8          25.    Defendant's failure to comply with its obligations under the express
                                                                                              9    warranty was willful, in that Defendant and its authorized representative were
                                                                                             10    aware that they were obligated to repair the Defects, but they intentionally
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                                                                                             11    refused to do so. Accordingly, Plaintiff is entitled to a civil penalty of two times
                                 1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067




                                                                                             12    of Plaintiff's actual damages pursuant to Civil Code section 1794(c).
                                                                                             13                                  FIFTH CAUSE OF ACTION
                                                                                             14                          BY PLAINTIFF AGAINST DEFENDANT
                                                                                             15                      BREACH OF THE IMPLIED WARRANTY OF
                                                                                             16                                  MERCHANTABILITY
                                                                                             17                                  (CIV. CODE, § 1791.1; § 1794)
                                                                                             18          26.    Plaintiff incorporates by reference the allegations contained in the
                                                                                             19    paragraphs set forth above.
                                                                                             20          27.    Pursuant to Civil Code section 1792, the sale of the Vehicle was
                                                                                             21    accompanied by Defendant's implied warranty of merchantability. Pursuant to
                                                                                             22    Civil Code section 1791.1, the duration of the implied warranty is coextensive in
                                                                                             23    duration with the duration of the express written warranty provided by
                                                                                             24    Defendant, except that the duration is not to exceed one-year.
                                                                                             25          28.    Pursuant to Civil Code section 1791.1 (a), the implied warranty of
                                                                                             26    merchantability means and includes that the Vehicle will comply with each of
                                                                                             27    the following requirements: (1) The Vehicle will pass without objection in the
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                                                                                              1    trade under the contract description; (2) The Vehicle is fit for the ordinary
                                                                                              2    purposes for which such goods are used; (3) The Vehicle is adequately
                                                                                              3    contained, packaged, and labelled; (4) The Vehicle will conform to the promises
                                                                                              4    or affirmations of fact made on the container or label.
                                                                                              5          29.    Within one year of purchase, the Vehicle contained or developed the
                                                                                              6    defects set forth above. The existence of each of these defects constitutes a
                                                                                              7    breach of the implied warranty because the Vehicle (1) does not pass without
                                                                                              8    objection in the trade under the contract description, (2) is not fit for the ordinary
                                                                                              9    purposes for which such goods are used, (3) is not adequately contained,
                                                                                             10    packaged, and labelled, and (4) does not conform to the promises or affirmations
STRATEGIC LEGAL PRACTICES, APC




                                                                                             11    of fact made on the container or label.
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                                                                                             12          30.    Plaintiff has been damaged by Defendant's failure to comply with its
                                                                                             13    obligations under the implied warranty, and therefore brings this Cause of Action
                                                                                             14    pursuant to Civil Code section 1794..
                                                                                             15                              SIXTH CAUSE OF ACTION
                                                                                             16                      BY PLAINTIFFS AGAINST DEFENDANT
                                                                                             17             VIOLATION OF CONSUMER LEGAL REMEDIES ACT
                                                                                             18                               (CIV. CODE §§ 1750 et seq.)
                                                                                             19          31.    Plaintiffs incorporate by reference the allegations contained in the
                                                                                             20    paragraphs set forth above.
                                                                                             21          32.    Defendant BMW OF NORTH AMERICA is a “person” as defined by
                                                                                             22    California Civil Code § 1761(c).
                                                                                             23          33.    Plaintiffs are a “consumer” within the meaning of California Civil
                                                                                             24    Code § 1761(d).
                                                                                             25          34.    On or about November 11, 2012, Plaintiffs purchased the Vehicle as
                                                                                             26    manufactured with Defendant’s engine and components.
                                                                                             27          35.    Defendant violated the California Consumer Legal Remedies Act
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                                                                                              1    (“CLRA”) when, inter alia, it engaged in unfair and deceptive acts, and by
                                                                                              2    knowingly warranting and allowing to be sold to Plaintiffs the Vehicle without
                                                                                              3    disclosing that the Vehicle and its engine was defective.
                                                                                              4          36.    Specifically, Defendant knew that 2012 BMW 550i vehicles equipped
                                                                                              5    with the N63 engine had one or more defects that can result in various problems,
                                                                                              6    including, but not limited to, improperly burning off and/or consuming abnormally
                                                                                              7    high amounts of engine oil. (“Oil Consumption Defect”). The Oil Consumption
                                                                                              8    Defect decreases the lubrication available to engine parts, which results in
                                                                                              9    premature failure. As a consequence, the Oil Consumption Defect requires
                                                                                             10    unreasonably frequent oil changes and/or the addition of oil between scheduled oil
STRATEGIC LEGAL PRACTICES, APC




                                                                                             11    changes
                                 1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067




                                                                                             12          37.    These conditions present a safety hazard and are unreasonably
                                                                                             13    dangerous to consumers. This is because the Oil Consumption Defect prevents the
                                                                                             14    engine from maintaining the proper level of engine oil and causes voluminous oil
                                                                                             15    consumption that cannot be reasonably anticipated or predicted, thereby potentially
                                                                                             16    causing engine failure while the vehicle is operation at any time and under any
                                                                                             17    driving conditions or speeds and thus contributing to car accidents.
                                                                                             18          38.    In addition to these safety hazards, the Oil Consumption Defect can
                                                                                             19    result in additional monetary costs to consumers such as Plaintiffs, who can incur
                                                                                             20    costs for unreasonably frequent oil changes and/or oil additions, in addition to repair
                                                                                             21    costs due to resulting breakdown of engine parts.
                                                                                             22          39.    Plaintiffs are informed, believe, and thereon allege that while
                                                                                             23    Defendant knew about the Oil Consumption Defect, and its safety risks since at least
                                                                                             24    2010, and prior to Plaintiffs acquiring the Vehicle, Defendant nevertheless
                                                                                             25    concealed and failed to disclose the defective nature of the Vehicle and its N63
                                                                                             26    engine to Plaintiffs at the time of sale and thereafter. Had Plaintiffs known that the
                                                                                             27    subject Vehicle suffered from the Oil Consumption Defect, they would not have
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                                                                                              1    purchased the Vehicle.
                                                                                              2          40.    By failing to disclose and concealing the defective nature of the Oil
                                                                                              3    Defect from Plaintiffs, Defendant violated California Civil Code § 1770(a), as it i)
                                                                                              4    represented that the Vehicle and its engine had characteristics and benefits that they
                                                                                              5    do not have, and ii) represented that the Vehicle and its N63 engine were of a
                                                                                              6    particular standard, quality, or grade when they were of another. See Cal. Civ. Code
                                                                                              7    §§ 1770(a)(5) and (7).
                                                                                              8          41.    Unfair and deceptive acts or practices occurred repeatedly in
                                                                                              9    Defendant’s trade or business, were capable of deceiving not only Plaintiffs but a
                                                                                             10    substantial portion of the purchasing public, and imposed a serious safety risk on
STRATEGIC LEGAL PRACTICES, APC




                                                                                             11    the public, including Plaintiffs.
                                 1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067




                                                                                             12          42.    Defendant knew that the Vehicle and its N63 engine suffered from an
                                                                                             13    inherent defect, were defective, would fail prematurely, and were not suitable for
                                                                                             14    their intended use.
                                                                                             15          43.    Defendant was under a duty to Plaintiffs to disclose the defective
                                                                                             16    nature of the Vehicle and its N63 engine, its safety consequences and/or the
                                                                                             17    associated repair costs, for the following reasons:
                                                                                             18                 a.       Upon information and belief, Defendant acquired its
                                                                                             19                          knowledge of the Oil Consumption Defect and its potential
                                                                                             20                          consequences prior to Plaintiffs acquiring the Vehicle,
                                                                                             21                          through sources not available to consumers such as Plaintiffs,
                                                                                             22                          including but not limited to pre-production testing data, post-
                                                                                             23                          production testing, early consumer complaints about the Oil
                                                                                             24                          Consumption Defect made directly to Defendant and its
                                                                                             25                          network of dealers, aggregate warranty data compiled from
                                                                                             26                          Defendant’s network of dealers, testing conducted by
                                                                                             27                          Defendant in response to these complaints, as well as
                                                                                             28
                                                                                                                                              Page 9
                                                                                                               [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1                       warranty repair and part replacements data received by
                                                                                              2                       Defendant from Defendant’s network of dealers, amongst
                                                                                              3                       other sources of internal information;
                                                                                              4                 b.    Defendant was in a superior position to know the true state of
                                                                                              5                       facts about the safety defects contained in the Vehicle and its
                                                                                              6                       engine;
                                                                                              7                 c.    Plaintiffs could not reasonably have been expected to learn
                                                                                              8                       about or discover the Vehicle’s Oil Consumption Defect and
                                                                                              9                       its potential consequences until after Plaintiffs purchased the
                                                                                             10                       Vehicle and Defendant failed to repair it after a number of
STRATEGIC LEGAL PRACTICES, APC




                                                                                             11                       repair attempts;
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                                                                                             12                 d.    Defendant knew (or should have known) that Plaintiffs could
                                                                                             13                       not reasonably have been expected to learn about or discover
                                                                                             14                       the Oil Consumption Defect and its potential safety
                                                                                             15                       consequences prior to purchasing the subject Vehicle;
                                                                                             16                 e.    Defendant knew (or should have known) that Plaintiffs could
                                                                                             17                       not reasonably have been expected to learn about the Oil
                                                                                             18                       Consumption defect until after the engine failed and
                                                                                             19                       Defendant’s inability to repair it after a number of repair
                                                                                             20                       attempts.
                                                                                             21          44.    In failing to disclose the defects in the Vehicle’s N63 engine,
                                                                                             22    Defendant has knowingly and intentionally concealed material facts and
                                                                                             23    breached its duty not to do so.
                                                                                             24          45.    The facts concealed or not disclosed by Defendant to Plaintiffs are
                                                                                             25    material in that a reasonable person would have considered them to be important
                                                                                             26    in deciding whether or not to purchase the Vehicle. Had Plaintiffs known that
                                                                                             27
                                                                                             28
                                                                                                                                          Page 10
                                                                                                               [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1    the Vehicle and its engine were defective at the time of sale, he would not have
                                                                                              2    purchased the Vehicle.
                                                                                              3              46.    Plaintiffs are reasonable consumers who do not expect their
                                                                                              4    Vehicle’s engine to fail and not work properly. Plaintiffs further expect and
                                                                                              5    assume that Defendant will not sell or lease vehicles with known material
                                                                                              6    defects, including but not limited to those involving the Vehicle’s engine, and
                                                                                              7    will disclose any such defect to its consumers before selling such vehicles.
                                                                                              8              47.     As a result of Defendant’s misconduct, Plaintiffs have been harmed
                                                                                              9    and have suffered actual damages.
                                                                                             10              48.    As a direct and proximate result of Defendant’s unfair or deceptive
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                                                                                             11    acts or practices, Plaintiffs have suffered and will continue to suffer actual
                                 1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067




                                                                                             12    damages.
                                                                                             13              49.    Plaintiffs are entitled to equitable and injunctive relief under the
                                                                                             14    CLRA.
                                                                                             15              50.    Plaintiffs have provided Defendant with notice of its alleged
                                                                                             16    violations of the CLRA pursuant to California Civil Code § 1782(a). More than
                                                                                             17    30 days have since elapsed and Defendant has failed to provide appropriate relief
                                                                                             18    for its violations of the CLRA. Accordingly, Plaintiffs seek monetary,
                                                                                             19    compensatory, and punitive damages, in addition to the injunctive and equitable
                                                                                             20    relief.
                                                                                             21                               SEVENTH CAUSE OF ACTION
                                                                                             22                         BY PLAINTIFFS AGAINST DEFENDANT
                                                                                             23                                    FRAUD BY OMISSION
                                                                                             24              51.    Plaintiffs hereby incorporate by reference the allegations contained
                                                                                             25    in the preceding paragraphs of this Complaint.
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                                                                                                                   [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1            52.      Plaintiffs purchased the Vehicle as manufactured with Defendant
                                                                                              2    BMW’s V-8, twin-turbocharged engine, which BMW and enthusiasts refer to as
                                                                                              3    the “N63.”
                                                                                              4            53.      Defendant BMW committed fraud by allowing the Vehicle to be sold
                                                                                              5    to Plaintiffs without disclosing that the Vehicle and its N63 engine was defective
                                                                                              6    and susceptible to sudden and premature failure.
                                                                                              7            54.      In particular, Plaintiffs are informed, believe, and thereon allege that
                                                                                              8    prior to Plaintiffs acquiring the Vehicle, BMW was well aware and knew that the
                                                                                              9    N63 engine installed on the Vehicle was defective but failed to disclose this fact
                                                                                             10    to Plaintiffs at the time of lease and sale and thereafter.1
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                                                                                             11            55.      Specifically, BMW knew (or should have known) that the twin-turbo
                                 1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067




                                                                                             12    charged engine had one or more defects that cause the subject vehicle to be unable
                                                                                             13    to properly utilize the engine oil and, in fact, to improperly burn off and/or
                                                                                             14    consume abnormally high amounts of oil (the “Oil Consumption Defect”). The
                                                                                             15    Oil Consumption Defect decreases the lubrication available to engine parts, which
                                                                                             16    results in premature failure. As a consequence, the Oil Consumption Defect
                                                                                             17    requires unreasonably frequent oil changes and/or the addition of oil between
                                                                                             18    scheduled oil changes.2
                                                                                             19            56.      The Oil Consumption Defect is a safety concern because it prevents
                                                                                             20    the engine from maintaining the proper level of engine oil, and causes voluminous
                                                                                             21    oil consumption that cannot be reasonably anticipated or predicted. Therefore, the
                                                                                             22    Oil Consumption Defect is unreasonably dangerous because it can cause engine
                                                                                             23    failure while the subject vehicle is in operation at any time and under any driving
                                                                                             24
                                                                                             25
                                                                                                   1
                                                                                                     Indeed, Defendant has issued various internal technical bulletins to its dealers (not consumers) concerning the
                                                                                             26    Engine Defect.
                                                                                                   2
                                                                                                     The Oil Consumption Defect was particularly apparent in a recent Consumer Reports study on excessive oil
                                                                                             27    consumption. Consumer Reports studied 498,900 vehicles across several makes and models for complaints about
                                                                                                   engine oil consumption and concluded BMW’s twin turbocharged engine was included on four out of the five most
                                                                                             28    defective vehicles.
                                                                                                                                                           Page 12
                                                                                                                  [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1    conditions or speeds, thereby exposing the subject vehicle’s driver, passengers,
                                                                                              2    and others who share the road with them, to serious risk of accidents and injury.
                                                                                              3          57.      Plaintiffs are informed, believe and thereon allege that Defendant
                                                                                              4    BMW acquired its knowledge of the Oil Consumption Defect prior to Plaintiffs
                                                                                              5    acquiring the Vehicle, though sources not available to consumers such as
                                                                                              6    Plaintiffs, including but not limited to pre-production and post-production testing
                                                                                              7    data, early consumer complaints about the engine defect made directly to BMW
                                                                                              8    and its network of dealers, aggregate warranty data compiled from BMW’s
                                                                                              9    network of dealers, testing conducted by BMW in response to these complaints,
                                                                                             10    as well as warranty repair and parts replacement data received by BMW from
                                                                                                   BMW’s network of dealers, amongst other sources of internal information.
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                                 1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067




                                                                                             12          58.      Plaintiffs are informed, believe, and thereon allege that while
                                                                                             13    Defendant BMW knew about the Oil Consumption Defect, and its safety risks
                                                                                             14    since mid-2008, if not before, BMW nevertheless concealed and failed to disclose
                                                                                             15    the defective nature of the Vehicle and its N63 engine to Plaintiffs at the time of
                                                                                             16    lease and/or sale and thereafter. Had Plaintiffs known that the Vehicle suffered
                                                                                             17    from the Oil Consumption Defect, they would not have leased and/or purchased
                                                                                             18    the Vehicle.
                                                                                             19          59.      Indeed, Plaintiffs allege that prior to the lease and/or sale of the
                                                                                             20    Vehicle to Plaintiff, Defendant BMW knew that the Vehicle and its N63 engine
                                                                                             21    suffered from an inherent defect, was defective, would fail prematurely, and was
                                                                                             22    not suitable for its intended use.
                                                                                             23          60.      Defendant BMW was under a duty to Plaintiffs to disclose the
                                                                                             24    defective nature of the Vehicle and its N63 engine, its safety consequences and/or
                                                                                             25    the associated repair costs because:
                                                                                             26                a. Defendant BMW acquired its knowledge of the Oil Consumption
                                                                                             27                   Defect and its potential consequences prior to Plaintiffs acquiring the
                                                                                             28
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                                                                                                                [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1                  Vehicle, through sources not available to consumers such as Plaintiff,
                                                                                              2                  including but not limited to pre-production and post-production
                                                                                              3                  testing data, early consumer complaints about the Oil Consumption
                                                                                              4                  Defect made directly to BMW and its network of dealers, aggregate
                                                                                              5                  warranty data compiled from BMW’s network of dealers, testing
                                                                                              6                  conducted by BMW in response to these complaints, as well as
                                                                                              7                  warranty repair and part replacements data received by BMW from
                                                                                              8                  its network of dealers, amongst other sources of internal information;
                                                                                              9                b. Defendant BMW was in a superior position from various internal
                                                                                             10                  sources to know (or should have known) the true state of facts about
STRATEGIC LEGAL PRACTICES, APC




                                                                                             11                  the material defects contained in vehicles equipped with N63 engine;
                                 1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067




                                                                                             12                  and
                                                                                             13                c. Plaintiffs could not reasonably have been expected to learn or
                                                                                             14                  discover of the Vehicle’s Oil Consumption Defect and its potential
                                                                                             15                  consequences until well after Plaintiffs leased and/or purchased the
                                                                                             16                  Vehicle.
                                                                                             17          61.     In failing to disclose the defects in the Vehicle’s N63 engine,
                                                                                             18    Defendant BMW has knowingly and intentionally concealed material facts and
                                                                                             19    breached its duty not to do so.
                                                                                             20          62.     The facts concealed or not disclosed by Defendant BMW to Plaintiffs
                                                                                             21    is material in that a reasonable person would have considered them to be important
                                                                                             22    in deciding whether or not to lease and/or purchase the Vehicle. Had Plaintiffs
                                                                                             23    known that the Vehicle and its N63 engine were defective at the time of lease
                                                                                             24    and/or sale, they would not have leased and/or purchased the Vehicle.
                                                                                             25          63.     Plaintiffs are reasonable consumers who do not expect their engine
                                                                                             26    to fail and not work properly. Plaintiffs further expect and assume that Defendant
                                                                                             27    BMW will not sell or lease vehicles with known material defects, including but
                                                                                             28
                                                                                                                                            Page 14
                                                                                                                [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                                                                              1    not limited to those involving the vehicle’s N63 engine and will disclose any such
                                                                                              2    defect to its consumers before selling such vehicles.
                                                                                              3          64.    As a result of Defendant BMW’s misconduct, Plaintiffs have
                                                                                              4    suffered and will continue to suffer actual damages.
                                                                                              5                                          PRAYER
                                                                                              6          PLAINTIFF PRAYS for judgment against Defendant as follows:
                                                                                              7                    a. For Plaintiffs’ actual damages according to proof at the time
                                                                                              8                       of trial;
                                                                                              9                    b. For restitution;
                                                                                             10                    c. For a civil penalty in the amount of two times Plaintiffs’
STRATEGIC LEGAL PRACTICES, APC




                                                                                             11                       actual damages pursuant to Civil Code section 1794,
                                 1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067




                                                                                             12                       subdivision (c) or (e);
                                                                                             13                    d. For any consequential and incidental damages;
                                                                                             14                    e. For punitive damages;
                                                                                             15                    f. For costs of the suit and Plaintiff’s reasonable attorneys’ fees
                                                                                             16                       pursuant to Civil Code section 1794, subdivision (d);
                                                                                             17                    g. For prejudgment interest at the legal rate; and
                                                                                             18                    h. For such other relief as the Court may deem proper.
                                                                                             19                             DEMAND FOR JURY TRIAL
                                                                                             20    Plaintiff hereby demands a jury trial on all causes of action asserted herein.
                                                                                             21
                                                                                                   Dated: November 6, 2017                  Respectfully submitted,
                                                                                             22
                                                                                                                                            Strategic Legal Practices, APC
                                                                                             23
                                                                                             24                                          By: /s/ Anna L. Knafo
                                                                                                                                            Anna Lisa Knafo
                                                                                             25                                             Attorneys for Plaintiffs Kari Eisenacher
                                                                                                                                            and David Eisenacher
                                                                                             26
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                                                                                                               [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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                                 1840 CENTURY PARK EAST, SUITE 430, LOS ANGELES, CA 90067




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                                                                                                             [PROPOSED] FIRST AMENDED COMPLAINT; JURY TRIAL DEMANDED
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            EXHIBIT 4
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                       1   840 Century Park East, Suite 430 Los Angeles, CA 90067
                  Telephone: 310-929-4900 Fax: 310-943-3838'www.slpattorney.corr
                                                                                                            Jared Walcler
                                                                                  E-N'Iail: jrvalcler(i)slpattorncy. coln


                                                  February 8,201,7

  VIA CERTIF'IED MAIL fRETURN RBCEIPT REOIIRSTFI,D) anrl FIRST CLASS MAIL
  BMW of North America, LLC
  c/o CT Corporation System
  818 West 7th Street, 2nd Floor
  Los Angeles, California 90017

  BMW of North America, LLC
  300 Chestnut Ridge Road
  Woodcliff Lake, NJ 07677

  Brian Takahashi
  Richard L. Stuhlbarg
  Bowman and Brooke, LLP
  970 West l90th Street, Suite 700
  Torrance, California 90502

         Re      Kari Eisenacher and David Eisenacher
                 201 2 BMW 550I; VIN: WBAFR9C50CDV58985
                 Notice of Violaion of California Consumer Legal Remedies Act, Civil Code Section
                 1750, et seq,

  Dear Sirs,

         We are writing this letter on behalf of our clients Kari Eisenacher and David Eisenacher
  ("Plaintiff' or "client"), consumers residing in the state of California who purchased a2012 BMW 550I;
  VIN: WBAFR9C50CDV58985 ("subject vehicle") manufactured and distributed by BMW of North
  America, LLC ("BMW" or "Defendant"), and for which BMW issued a written warranty.

           Pursuant to the California Consumer Legal Remedies Act ("CLRA"), California Civil Code
  section 1750 et seq., and specifically, sections 1782(a)(I) and (2), we hereby notify you that BMW andls
  or its subsidiaries and affiliates have violated section I770 of the CLRA by knowingly warranting and
  selling the subject vehicle to our client without disclosing that the subject vehicle and its engine is
  defective.

          In particular, we are informed, believe and thereon allege that prior to our client acquiring the
  subject vehicle, BMW was well aware and knew that the twin-turbocharged engine ("N63 engine")
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  installed on the subject vehicle was defective but failed to disclose this fact to our client at the time              of
  sale and repair.

           Specifically, BMW knew (or should have known) that the subject vehicle and its N63 engine had
  one or more design and/or manufacturing defects that causes the subject vehicle to be unable to properly
  utilize the engine oil and, in fact, to improperly burn off and/or consume abnormally high amounts of oil
  (the "Oil Consumption Defect"). Engine oil serves an essential function. It lubricates the moving parts
  of the engine and dissipates heat throughout the engine. Therefore, the Oil Consumption Defect
  decreases the lubrication available to engine parts, which results in premature failure. As a
  consequence, the Oil Consumption Defect requires unreasonably frequent oil changes and/or the
  addition of oil between scheduled oil changes. The Oil Consumption Defect is a safety concem because
  it prevents the engine from maintaining the proper level of engine oil, and causes voluminous oil
  consumption that cannot be reasonably anticipated or predicted. Therefore, the Oil Consumption Defect
  is unreasonably dangerous because it can cause engine failure while the subject vehicle is in operation at
  any time and under any driving conditions or speeds, thereby exposing the subject vehicle's driver,
  passengers, and others who share the road with them, to serious risk of accidents and injury.

          We are informed, believe, and thereon allege that BMW acquired its knowledge of the Oil
  Consumption Defect prior to our client acquiring the subject vehicle, through sources not available to
  consumers such as our client, including but not limited to pre-production and post-production testing
  data, early consumer complaints about the engine defect made directly to BMW and its network of
  dealers, aggregate waranty data compiled from BMW's network of dealers, testing conducted by BMW
  in response to these complaints, as well as warranty repair and parts replacement data received by BMW
  from BMW's network of dealers, amongst other sources of internal information.
          However, despite its awareness of the Oil Consumption Defect since 2011 if not before, BMW
  failed to disclose this material fact to our client at the time of sale or thereafter. Had our client known
  about the Oil Consumption Defect at the time of sale, our client would not have purchased the subject
  vehicle. Moreover, despite its awareness of the Oil Consumption Defect, BMW has also continued to
  actively conceal the true nature of the defect at the time of repair.
          BMW's conduct in warranting, advertising, selling, and representing the subject vehicle                   as
  alleged herein constitute the following violations of section 1770:

      1.   Representing that goods have characteristics, use and benefits which they do not have ($
           1770(aX5)); and
      2.   Representing that goods are of a particular standard, quality, or grade,   if they   are of another ($
           1770(a)(7)).

          Pursuant to section 1782 of the CLRA and based on the foregoing, we hereby demand that
  within thirty (30) days of receiving this letter, BMW:

      l.   Offer to take the vehicle back and reimburse all amounts paid on the subject vehicle's contract
           price without offset, and plus pre-judgment interest at the legal rate;
      2.   Offer to reimburse our client all incident and consequential damages; and
      3.   Pay for all of our client's attorneys' fees and costs to date.

                           Jared Walder
                           Strategic Legal Practices, APC
                           1840 Century Park East, Suite 430
Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 52 of 66 Page ID #:673




                         Los Angeles, California 90067
                         Telephone: 3 l0-929-4900
                         Facsimile: 3 10-943-383 8

          If you intend to cure these violations, please notify the above counsel within 3O-days of receipt
  of this notice.




  Sincerely,

               ,tu&t
   ared Walder
  Strategic Legal Practices, APC
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            EXHIBIT 5
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            Eowman and Erooke,*
                                              Attorneys at Law
           970 wesl 190th Slreet, suit€ 700
           Tonance, CA 90502
                                                                                                                  Lindsay G. Carlson
           Phone:310.768.3068                                                                                  Direct:   1   .31   0.380.6571
           Fax:310.719,1019                                                              Email: lindsay.carlson@bowmanandbrooke.com




     March 10,2017                                                                                Via Email and U.S. Mail

     Rodney Gi
     Strategic Legal Practices, APC
     1840 Century Park East, Suite 430
     Los Angeles, CA 90067

     Re              Kari Eisenacher. et al. v, BMW of North America, LLC
                     U.S. District Court, Central District of California Case No. 2:17-cv-984 ODW (JCx)
                     VIN WBAFRgCsOCDV5B9B5

     Dear Rodney:

          As you know, we represent BMW of North America, LLC ("BMW NA") in this matter.
     We received your letter dated February B, 2017, titled "Notice of Violation of California
     Consumer Legal Remedies Act, Civil Code Section 1750, et seq." on February 13, 2017. Given
     that BMW NA is a represented party, your correspondence should have been directed only to us
     - and not to our client. We remind you of your obligations under the California Rules of
     Professional Conduct, particularly Rule 2-100, which states that a member of the California
     State Bar "shall not communicate directly or indirectly about the subject of the representation
     with a party the member knows to be represented by another lawyer in the matter, unless the
     member has the consent of the other lawyer." You neither sought nor obtained our consent
     before contacting BMW NA, thus you have violated this rule. lmmediately cease contacting
     BMW NA, and direct your further communications to my office.

                     BMW NA has asked us to assist and investigate Plaintiffs' claim, and respond to your
     letter. ln short, you claim that BMW NA violated the CLRA by "knowingly warranting                                                 and
     selling" lhe 2012 BMW 750i VIN WBAFR9CSOCDVSB9BS ("Subject Vehicle") that is the subject
     of this action to Plaintiffs, "without disclosing that the subject vehicle and its engine is defective."
     Specifically, you contend that BMW NA was aware that the twin-turbocharged N63 engine in the
     Subject Vehicle was defective, and BMW NA failed to disclose that fact to the Plaintiffs "at the
     time of sale and repair." You contend that the purported defect that serves as the basis of
     Plaintiffs' complaint relates to the N63 engine and your allegations that it causes the Subject
     Vehicle "to be unable to properly utilize the engine oil, and in fact, to improperly burn off and/or
     consume abnormally high amounts of oil," resulting in the need for "unreasonably frequent oil
     changes and/or the addition of oil between scheduled oil changes."

            Your letter accuses BMW NA of "representing" to Plaintiffs that the Subject Vehicle had
     characteristics, use and benefits which it did not have, and "representing" that the Subject
     Vehicle was of a particular standard, quality, or grade, if it is of another. You provide no facts
     demonstrating that any representations were made to the Plaintiffs, nor do you state who made
     such alleged representations, or when. lt is important to note that BMW NA is the distributor of
     new BMW vehicles in the United States, but it does not sell vehicles directly to retail customers.


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     Rodney Gi
     Re: Eisenacher v, BMW of North America, LLC
     March 10,2017
     Page 2


     Rather, customers purchase or lease new BMW vehicles from authorized centers, which are
     independently owned and operated. BMW NA's records show that Plaintiffs purchased the
     Subject Vehicle from BMW of Monrovia. As BMW NA was not involved in this transaction,
     contrary to your accusations, BMW made no representations to Plaintiffs.l

             Notwithstanding the above, BMW NA hereby offers to repurchase the Subject Vehicle.
     Even though BMW has evaluated the Subject Vehicle's repair history and formed the good faith
     belief that the Subject Vehicle does not qualify for repurchase, BMW offers to repurchase the
     Subject Vehicle using Civil Code Section 1793.2(d)(2) to calculate the restitution amount, This
     offer is made without any admission of liability. lt is made to resolve this dispute amicably,
     avoid unnecessary fees and costs, and maintain customer satisfaction. So your clients are
     aware, these are the amounts BMW is willing to pay to accomplish repurchase:

                  ln the case of restitution, the manufacturer shall make restitution in an
                  amount equal to the actual price paid or payable by the buyer, including
                  any charges for transportation and manufacturer-installed options, but
                  excluding nonmanufacturer items installed by a dealer or the buyer, and
                  including any collateral charges such as sales tax, license fees,
                  registration fees, and other official fees, plus any incidental damages to
                  which the buyer is entitled under Section 1794, including, but not limited

     t       The CLRA only covers specified "acts or practices undertaken by any person in a transaction
     intended to result or which results in the sa/e of goods or services to any consumer...." (Civ. Code, $
     1770. (emphasis added). Ergo, only those engaged in transactions with consumers can be sued under
     Civil Code Section 1780(a) ("Any consumer who suffers any damage as              a result of the use or
     employment by any person of a method , act or practice declared to be unlaMul by Section 1770 may
     bring an action agarnst that person...")(emphasis added).

               This interpretation not only flows inexorably from the statutory language, but accords perfectly
     with the legislative history and purpose of the CLRA. As the California Supreme Court has recognized,
     the CLRA arose out of concerns about the deceptive practices of inner city merchants in the wake of
     widespread urban riots in the late 1960s. (See Broughton v. C|GNA2l Cal. th at1077 ("The CLRA was
     enacted in an attempt to alleviate social and economic problems stemming from deceptive business
     practices, which were identified in the 1969 Report of National Advisory Commission on Civil Disorders
     (i.e., the Kerner Commission)," citing Reed, Leqislatinq for the Consumer: An lnsider's Analvsis of the
     Consumers Leqal Remedies Act,2Pacific L.J. 1, 5-7 (1971) ("The Kerner Commission found that much
     of the violence in recent urban disorders was directed at sfores and other commercial establishments in
     disadvantaged neighborhoods. Rioters seemed to focus on sfores operated by merchanfs who, they
     believed, had been charging exorbitant prices or selling inferior goods") (emphasis added).) The Reed
     article also quotes the same effect the Judiciary Committee testimony of Assemblyman James A. Hayes
     as follows: "The Report of the National Advisory Commission on Civil Disorders found unethical and
     deceptive practices of merchants in low income areas to be factors contributing to the disturbances in our
     cities in recent years. This bill gives citizens in those areas the right to seek redress in the courts as
     individuals ...." (ld.n. 21 (emphasis added).) Thus, the California Legislature deliberately focused the
     CLRA on merchants, and the statutory limitation of the CLRA's prohibitions to the practices of retail
     sellers that engage "in a transaction" with a consumer is therefore completely consistent with the
     legislative purpose.

             Here, the "transaction" limitation expressly precludes your clients from asserting any CLRA
     claims against BMW NA. They did not purchase their vehicle from BMW NA.



     17720683v1
Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 56 of 66 Page ID #:677


     Rodney Gi
     Re: Eisenacher v. BMW of North America. LLC
     March 10,2017
     Page 3


                  to, reasonable repair, towing, and rental car costs actually incurred by the
                  buyer.

     This repurchase offer also includes compensation for Plaintiff's attorney's fees, in a fixed
     amount or as determined by a review of your records or a fee motion submitted to the Court. ln
     addition to $ 1793.2(dX2), this repurchase offer is also made pursuant to Civil Code gg17B2 and
     1784. By offering repurchase, BMW NA submits there was no intentional violation and an
     appropriate correction offer was made within 30 days of the CLRA notice. Please let us know
     as soon as possible if Plaintiffs will accept BMW NA's repurchase offer.

             Your request that BMW NA cease "the sale and leasing" of 2012 BMW 75Oi vehicles,
     however, is of no consequence. BMW NA not only does not sell or lease vehicles to
     consumers, it has long since ceased distributing 2012 model year vehicles, including the 2012
     750i, to independent authorized centers for sale to consumers. ln other words, there is no need
     for BMW NA to cease engaging in conduct in which it is not currently engaged, and has not
     been engaged for a long time,

             Please pass on this correspondence to your client          Feel free to contact me if you want
     to discuss this further.


                                                           Sincerely,

                                                                             CA"A*-*
                                                           Lindsay G. Carlson
     LGC/moh




     17720683v1
                      Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 57 of 66 Page ID #:678




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                                                                        item 4 if Restricted Delivery is desired.
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Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 58 of 66 Page ID #:679




            EXHIBIT 6
       Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 59 of 66 Page ID #:680


Anna Knafo

From:                                                     Lindsay Carlson < Lindsay.Carlson @ bowmanand brooke.com   >
Sent:                                                     Thursday, October L2,2017 5:02 PM
To:                                                       Anna Knafo; Benjeman Beck
Cc:                                                       Autumn Lewis; Brian Takahashi; Richard Stuhlbarg
Subject:                                                  RE: Eisenacher v, BMW



Happy to talk to you on Wednesday about your proposed fraud claim. I have a meeting from noon-1pm, but
otherwise available.

Lindsay G. Carlson
Bowman and Brooke LLP
Direct: 1 .31 0.380.6571


F   ro m : An n a   Kna   fo   I fo @ s I pa tlg".rnev. co m ]
                                   m   a i lto.:.ak.n a

Sent: Wednesday, October tt,20t7 3:56 PM
To: Lindsav Carlson <L.ind.SavJarl.s-on.@b_owmanandbfo_o_ke.com>;                       Benjeman Beck <b-b.e_g.k@s.lpattornev.cgfit>
Cc:Autumn Lewis <A-utumn.Lewis@bo. vumanandb-rooke...q.om>; Brian Takahashi
<Br"ian.Takahashi@blwmanq!_dbro-qke.cg"m>; Richard Stuhlbarg <Rich.ard.ltuhlbars@bowmanandbrooke.com>
Subject: RE: Eisenacherv. BMW

Lindsay:

Neither your letter nor the statute sets forth a deadline for Plaintiffs to respond to your "offer" . Regardless, your March
IO,2OtT letter was vague and ambiguous (e.g. there were no numbers provided and it offered to repurchase the vehicle
under California Civil Code section 1793.2 as opposed to the CLRA). Plaintiff attempted to meet and confer with you in
good faith despite Defendant continuously changing positions during the meet and confer process.

ln any event, unless you offer to pay our client full restitution in the amount of 567,542.10 as set forth below, and
without any preconditions (e.g. dismissal of our Song-Beverly Claim and request for civil penalty) by close of business on
Monday October !6,20!7, we willfile our motion for leave to amend to add the CLRA cause of action and advise the
Court of BMW's bait and switch tactics which we will attempt to introduce to the Jury at the time of trial,

ln addition to the CLRA claim, Plaintiffs intend to add a cause of action for Fraud which like the CLRA claim, will be based
on BMW's material omissions, lf we cannot reach an agreement regarding a stipulation to amend the complaint, then
this too will be the subject of our Motion to Amend. Please let me know when you are available to meet and confer
about amending the complaint to include Plaintiffs' fraud claim. I am available most of next week.

Thank you,

Anna Lisa Knafo
Strategic Legal Practices
A Professional Corporation
1840 Century Park East, Suite 430
Los Angeles, CA 90067
Tel: (310) 929-4900
Fax: (310) 943-3838
aknafo@slpa ttornev.com


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    Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 60 of 66 Page ID #:681
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From: Lindsay Car|son       t.ntejlte.'.Lindjav.qar|son@b9          l
Sent: Wednesday, October It,20t7 2:58 PM
To: Benjeman Beck <bbeck@slpattqrnev.com>
Cc: Anna Knafo <a!.nafg.@slm$gnercg!0>; Autumn Lewis <Autumn.LeWLs@bqwmanandbrooke.com>; Brian Takahashi
<-B*I-IAn.Takahashi@bowmanandbroqke-com>; Richard Stuhlbarg <Richard.SLuhlbars@bqwmanandb-rgoke.eqm>
Subject: RE: Eisenacherv. BMW

Benjeman,

l'm not sure what there is to meet and confer about here, I set forth our position quite clearly. We aren't going
to stipulate to allow Plaintiffs to add a tardy CLRA claim. We made the offer in March, and Plaintiffs didn't even
respond to it until July. That was too late. You're welcome to file a motion, which we will oppose.

Lindsay

Lindsay G. Carlson
Bowman and Brooke LLP
Direct: 1 .31 0.380.6571


From: Benjeman Beck Imailto:bbeck@slpattorney.com]
Sent: Wednesday, October 11.,2017 2:28 PM
To: Lindsay Carlson <Lindsav.Ca rlson@ bowma na ndbrooke.com>
Cc: Anna Knafo <aknafo@slpattornev.com>; Autumn Lewis <Autumn.Lewis@bowmanandbrooke,com>; Brian Takahashi
<Bria n.Taka hashi@ bowmana ndbrooke.com> ; Richard Stuhlbarg <Richard.Stuhlbarp@bowm anand brooke.com>
Subject: FW: Eisenacher v. BMW

Lindsay,


I didnot receive a response on the below email. We are available to meet and confer Friday afternoon after 3:00 pm or
next week on Monday orTuesday. Please advise when you are available. Should we not receive your response before
end of business dav tomorrow then we will proceed with our motion and inform the Judge that you have failed to meet
confer.

Benjeman R. Beck
Strategic Legal Practices
A Professional Corporation
1840 Century Park East, Suite 430
Los Angeles, CA 90067
Tel: (310) 929-4900
Fax: (310) 943-3838
bbeck@slpatto rnev.com
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      Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 61 of 66 Page ID #:682



From: Benjeman Beck
Sent: Monday, August 2t,2Ot7 3:28 PM
To: 'Lindsay Carlson' <Li.n-dsav..Qarl.so.t@bowmana[d.b.fooke.com>;   Victoria Shin <vshin@slpattornev.com>
Cc:  Autumn Lewis <Autu.mn..Le) ris@b.o!v.manandbro-o*ke.com>; Brian Takahashi
<Blian..Takah?_S_bi@b_gJv"man?n_dbro._ok"e-co-m>; Richard Stuhlbarg <Richard.Stuhlbars@bowmanan.d.p_r.o._gke,com>
Subject: RE: Eisenacher v. BMW

Lindsay,

Your purported "meet and confer" was in bad faith, it appears you never intended to resolve the CLRA claims or to
continue litigating the Song-Beverly claims, including the civil penalty. Accordingly, please let me know when you are
available to meet and confer by phone regarding a stipulation for leave to amend the complaint to add a CLRA cause of
action. ln lieu of a stipulation we will be filing a motion regarding the same.

Benjeman R, Beck
Strategic Legal Practices
A Professional Corporation
1840 Century Park East, Suite 430
Los Angeles, CA 90067
Tel: (310) 929-4900
Fax: (310) 943-3838
bbeck@slpattornev.com
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From: Lindsay Carlson Inat.[!q";.|-ind"S"av-,.F"a.f!.Sp.n.@.b__o""W_mp.n"and..hf_q-"qk_e^.Con]l
Sent: Monday, August 2I,2017 8:50 AM
To: Benjeman Beck <bbeck@slp.attornev.com>; Victoria Shin <v_:hin@_Slp.a_t_t_ornev.com>
Cc : Autu m n Lewis <Autu m.rf...Lew.i.s @ bowm a na nd.broo..3e..com.>; Bria n Ta ka hash i
<Brian.Takaha.shi@bgwmana.nd.b.roofe.com>; Richard Stuhlbarg <Richard,S[uhlbarg@_bpvr..manandbrooke..co_tn>
Subject: RE: Eisenacherv. BMW

Benjeman,

I spoke to my client, and we believe that your purported acceptance of our offer several months after it was
made was not timely. We're not interested in resolving plaintiffs' purported claims piecemeal, but if you have
an offer to make to resolve the case in its entirety, I'd be happy to take it to my client.

Thanks,
Lindsay

Llndsay G. Carlson
Bowman and Brooke LLP
Direct: 1,31 0.380.6571



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        Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 62 of 66 Page ID #:683

F   ro m :   Ben   je m a n Be c k I m ai.lto : b b.ge.k"@                              s I p qtto_.!" n   ey..co m ]
Sent: Wednesday, August 16,2017 11:05 AM
To: Lindsay Carlson <Lindsav.C._QJlson@.b-o_Wmana.ndb.Lo_o_ke.co.m.>; Victoria Shin <vshin@slp_attornev.com>
Cc: Autumn Lewis <Autu.mn.L..e_Wjs@bow_m.a_nandbro_o_Ke.cg*m>; Brian Takahashi
< _Bri.a n.Ta k a.ha s_h i @ bo_wl]r.Alla n d.b ro o k.e. com >; R ic h a rd St u h b a rg < Richa rd.Stuh I ba rs@ h)
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Subject: RE: Eisenacherv. BMW

Lindsay,

Total Down Payment:                                                                           s27,800.00
Total of All Payments:                                                                       SzsJqz.to
Total CLRA Restitution:                                                                      $st,s+z.to

Please advise if this is BMW's CLRA restitution offer so I can communicate it                                                            to my client.

Benjeman R. Beck
Strategic Legal Practices
A Professional Corporation
1"840 Century Park East, Suite 430
Los Angeles, CA 90067
Tel: (310) 929-4900
Fax: (31"0) 943-3838
hbeck@sl patto rneV.co m
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From: Lindsay Carlson Imgjltp:Lindsav-.Carlso[@.b.gwuanandb_rgg!_q.com]
Sent: Tuesday, August 08,2017 4:03 PM
To: Victoria Shin <vs.h.in@slpattorngv.com">; Benjeman Beck <bb..e-ck@slpatt.orne.y..c_p-m>
Cc:Autumn Lewis <Autumn.Le.\,yis@Lqwm.ang.ndbrooKg.,com>; Brian Takahashi
                      wmanandbrooke     >; R ic h a rd St u h ba rg < Ric.ha rd,St u hl.b_af                            I                      e @ b_o_'Wm a n   il   d b ro o ke,co-rr.I>
Subject: RE: Eisenacher v. BMW

Victoria,

Please provide the amount that Plaintiff intends to claim as restitution under the CLRA, as I requested
below. Thanks.

Lindsay

Lindsay G. Carlson
Bowman and Brooke LLP
Direct: 1 .31 0,380.6571


F   ro m : V i cto ri a   Sh   i   n   I   m   a   i   lto   :.v_.s   h in @ s   I   pa tto.rn ey.,co m ]
Sent: Tuesday, August 08,20!7 3:21 PM
To: Lindsay Carlson <Lindsav.Carlson@bo_wmanandbrooke.c-o..!0>;                                                                 Benjeman Beck <bbeck@-slpattgrnev.com>
Cc:    Autumn Lewis <Autu.mn.Lewis@bowmanandbrooke.con>; Brian Takahashi
                                                                                                                            4
       Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 63 of 66 Page ID #:684
<B.rian.Tal<ahash.i@bowmafrandbrooke.com>; Richard Stuhlbarg <Bichard.Stuhlbars@bo.wman?ndbro_o*k.com>
Subject: RE: Eisenacherv. BMW

 Lindsay,

Please find attached my client's financials. Thank you

Victoria Shin
Strategic Legal Practices
A Professional Corporation
1840 Century Park East, Suite 430
Los Angeles, CA 90067
Tel: (310) 929-4900
Fax: (310) 943-3838
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attached to it.




From :       Li n d   say   Ca      rlso n Im ai]toj       Li nd   sav. CaIlso n.@ b.owm   a.n-a   nd b roo ke. co m]
Sent: Friday, August 04,2017 9:42 AM
To : Be nje m a n Beck < b_beck@                     s_l   paltorney.co.    nr   >
Cc: Autumn Lewis <A.utumn.Ley-vjs@b-owmanandbrooke.cqm.>; Brian Takahashi
<Brian,Tal<ahashi@bowma.n?rtdbrool<e.com>; Richard Stuhlbarg <Rich.ard.stuhlbarg@bowmanand.brooke.com>;                                       Victoria
Shin <vshin @.sl patto rney., gom>
Subject: RE: Eisenacher v, BMW

Benjeman,

You appear not to have read this part of my email: "we still need information from you and your client that will
provide the basis for restitution since such information is not available to BMW NA and uniquely within
Plaintiffs' control."

I don't know how much Plaintiff is claiming in restitution, and it's inappropriate for me to guess when plaintiff
can easily provide it to us. Please forward a payment history as well as any other documents that establish
Plaintiff's claim to restitution, Better yet, provide that backup documentation with a figure that you believe is
correct, and we will verify and come to an agreement.

Thanks,
Lindsay

Lindsay G. Carlson
Bowman and Brooke LLP
Direct: 1 .31 0.380.6571


F   ro m :   Be nje    m    a   n   Be c k [grg   ilto : bbec.L@slpallqngy.qp_m j
Sent: Thursday, August 03,2Ot7 7:42 PM
To: Lindsay Carlson <Lindsav.Carlson@bow   ma na nd broo ke.com>
Cc: Autumn Lewis <Autum.n
                          -Le""W"i-s_@_bp"WmAn3.ndbfpq[g,_c!.10>j Brian Takahashi
<B.f"ia.n'-TaLAh"e_S.hi@-.b-"-o_"W.fn"A.n-A.ndb_fg.9ke,egm>;                     Richard Stuhlbarg <Richard.S!!rhlbars@bowmanandbrooke.com>; Victoria
                                                                                                    5
         Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 64 of 66 Page ID #:685
Sh   i   n <vs   h i n @ s.l   p-A-ttqrnev.co m>
Subject: RE: Eisenacher v, BMW

Lindsay,

It is my understanding that we will continue to litigate the other claims in our Complaint including, but not limited to,
the civil penalties, Please advise what the specific restitution amount is that BMW is offering under the CLRA so that we
can convey that offer to our clients.

Benjeman R. Beck
Strategic Legal Practices
A Professional Corporation
1-840 Century Park East, Suite 430
Los Angeles, CA 90067
Tel: (310) 929-4900
Fax: (310) 943-3838
bbeck@sl pattornev.com
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From : Li ndsay Ca rlso n Im a iltg : Lindsav.Ca rlson @ bslvma n.and brooke.com]
Sent: Tuesday, August 01,2017 1L:03 AM
To: Benjema n Beck <[bggk(oslpattornev.com>
Cc: Jared Walder <ir,Valder@slpattornev.com.>; Autumn Lewis <Autumn.Lewis@bowm?nandbrookg.,.com>;                                  Brian
Ta ka hash i <Bria n.Ta k-a hasll-@ bowma na nd brqgke.com.>; Richa rd Stu hl ba rg
< Ri.cha rd.Stu h lba.rg@ bowma na nd broo lse.com>

Subject: RE: Eisenacher v. BMW

Benjeman,

We have been over this ground with your colleagues at length, Please see the attached exchange between
me and Yoon Kim. The CLRA offer is made without offset, pursuant to the CLRA statute, and without any
admission of liability or waiver of any defenses. We decline to offer any legal advice and make no
representations regarding what impact accepting restitution under the CLRA may have on Plaintiffs' existing
Song-Beverly claims.

Your email is ambiguous with respect to Plaintiffs' intentions to accept or reject BMW NA's offer. lf your
intention is to accept the offer, we still need information from you and your client that will provide the basis for
restitution since such information is not available to BMW NA and uniquely within Plaintiffs' control. Please
provide it as soon as possible.

Lindsay

Lindsay G. Carlson
Bowman and Brooke LLP
Direct: 1 .31 0,380.6571


From: Benjeman Beck [mailto:bbeck@slpattornev.com]
Sent: Monday, July 31",2017 t2:45 PM
                                                                         6
      Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 65 of 66 Page ID #:686
To : Li n dsay Ca rlso n <   Li   nd sav. Ca.dso n @   bowmA na n d broo ke.co_m.>
Cc: Jared Walder <iwald-e.r@slpattorng.y-.com>; Autumn Lewis <Au!.Umn.Lewis@bowmanandbl*oo(e..com>;                                     Brian
Ta ka hashi <Bria.n.Ta ka hashi @_bowmana nd brooke.com>; Richa rd Stu h lba rg
<   Richa rd,Stu h lba rg@ bowma na nd          brooke.com>
Subject: RE: Eisenacher v. BMW

Lindsay,

The March 1.0,2017 letter is vague and ambiguous for several reasons. lt appears to offer Song-Beverly remedies to
satisfy Plaintiff's CLRA claim: "BMW offers to repurchase the Subject Vehicle using Civil Code Section 1793.2(d)(2) to
calculate the restitution amount." As you know, the remedies in Song-Beverly "are cumulative and shall not be
construed as restricting any remedy that is otherwise available. . . ." See e.g., Civil Code Sectio n 1790.4. Similarly, the
remedies provided by the CLRA "are not exclusive." See e,g., Civil Code Sectio n 1752,

Without conceding whether BMW's "offer" is proper, it is unclear whether BMW intends to take a mileage offset (not
included in the CLRA remedies) and if so, what mileage offset BMW intends to use for the calculation. Further, the letter
does not indicate whether Plaintiff will be required to give up her other claims, including civil penalties under the Song-
Beverly Act, and injunctive relief under CLRA. Additionally, it is unclear whether the "offer" is contingent on plaintiff
dismissing the case in its entirety,

As such, please confirm whether BMW is willing to offer Plaintiff full restitution pursuant to the CLRA (which is currently
not clear) and will allow Plaintiff to continue litigating the other causes of action alleged in the complaint, including the
civil penalties under the Song Beverly Act, so that we can arrange for the prompt return of the vehicle.

Thank you

Benjeman R. Beck
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From: Lindsay Carlson Imailto:Lindsav.Carlson@bowma nand brooke.com]
Sent: Monday, July 24,2017 5:09 PM
To: Benjeman Beck <bbecl<@slpattorney,com>
Cc: Jared Walder <iwalder@slpaltorney,com>; Autumn Lewis <Autumn.Lewis@bowmanandbrooke.com>; Brian
Takahashi<_B*fj.an,.Ia"K,q_h.aS"h"i.@_b$y_mj.[A!dbreeK-.c_o_m>;          Richard Stuhlbarg
<Richard.Stuhlba rs@ bo wma             na nd   broo ke.com>
Subject: RE: Eisenacherv. BMW




Benjeman,

                                                                            7
       Case 2:17-cv-00984-ODW-JC Document 30 Filed 11/06/17 Page 66 of 66 Page ID #:687

As my out-of-office response indicated, I was not available today. I am available tomorrow to discuss. Note,
however, that BMW NA offered to provide restitution under the CLRA in a letter dated March 10,2017
(attached). We never received a response from plaintiffs.

Lindsay

Lindsay G. Carlson
Bowman and Brooke LLP
Direct: 1 .31 0.380.657'1

From:Ben      jemanBeck[m"a!l"tp.;"b.be"-c_k"@-s"lp_AKO"r_n-eyeqm]
Sent: Monday, July 24,2017 1:01            PM
To: Lindsay Carlson
Cc: Jared Walder
Subject:      Eisenacher v. BMW

Li   ndsay:

ljust left you a voicemail message, please give me a call back. Pursuant to Local Rule 7-3, we intend to file a motion for
leave to amend the complaint to add violation of the Consumer Legal Remedies Act. Please advise when today you are
you available by phone to discuss reaching a stipulation for leave to amend on these grounds. Thank you.

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